Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 1 of 54 Page ID #:214



    1    Olu K. Orange, Esq. (SBN 213653)
         o.orange@orangelawoffices.com
    2    ORANGE LAW OFFICES, P.C.
    3    3435 Wilshire Boulevard, Suite 2910
         Los Angeles, California 90010
    4    TEL: (213) 736-9900
    5    FAX: (213) 417-8800

    6
        Attorney for Plaintiffs
    7
    8                        UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
    9
   10   KARLA GARCIA ARANDA, an                  Case No.: CV19-1770 RGK (RAO)
   11   individual; ALFREDO ARANDA, an
        individual; and Minor Plaintiff B.A., by FIRST AMENDED COMPLAINT
   12   and through his Guardian ad Litem, Karla FOR DAMAGES
        Garcia Aranda,
   13
                         Plaintiffs,              [ Filed per FRCP Rule 15(a)(1)(B) ]
   14
              v.
   15                                             1. VIOLATION OF CIVIL RIGHTS 42
        COUNTY OF LOS ANGELES, a public              U.S.C. § 1983 (Fourth Amendment)
   16                                             2. VIOLATION OF CIVIL RIGHTS 42
        entity, LOS ANGELES DEPARTMENT
        OF CHILDREN AND FAMILY                       U.S.C. §§ 1983, 1988 (Conspiracy)
   17                                             3. VIOLATION OF CIVIL RIGHTS 42
        SERVICES, a subdivision of the County        U.S.C. § 1983 (Municipal Liability—
   18   of Los Angeles; RUBEN JIMENEZ, an            Monell)
   19   individual; MELISSA RAMIREZ, an           4. VIOLATION OF CIVIL RIGHTS 42
        individual; LYDIA BUENO, an                  U.S.C. § 1983 (First Amendment)
   20   individual; ALEXANDRA RONCES, an          5. VIOLATION OF CIVIL RIGHTS 42
        individual; GLADYS ESCOBEDO, an              U.S.C. § 1983 (Fourteenth
   21                                                Amendment)
        individual; EVITA SALAS, an individual,
   22   ANTONIA LOPEZ, an individual;             (Supplemental Jurisdiction)
        RACHEL SIMONS, an individual;
   23   GLORIA MEJIA, an individual;              6. Negligence (Cal Civ Code §§ 1714
        STEPHANIE MORALES, an individual;             and 3333)
   24                                             7. Negligence Per Se
        LAURA LUNA, an individual; SANDRA         8. Intentional Infliction of Emotional
   25   JIMENEZ, an individual; OFFICER               Distress
        PACHECO, an individual; OFFICER           9. Violation of Mandatory Duty
   26   ESPINOZA, an individual, and DOES 1-      10. Bane Act (Cal. Civ. Code §52.1)
   27   10,
                       Defendants.
                                                           *** JURY DEMAND ***
   28

                                               - 1-
                                                      First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 2 of 54 Page ID #:215



    1         COME NOW PLAINTIFFS, Minor Plaintiff B.A., by and through his
    2   Guardian ad Litem, Karla Garcia Aranda; and KARLA GARCIA ARANDA
    3   (“Karla”), and ALFREDO ARANDA (“Alfredo”) (B.A., Karla, Alfredo collectively,
    4   "Plaintiffs") and hereby allege as follows:
    5
    6                              JURISDICTION AND VENUE
    7   1. Plaintiffs bring this case pursuant to 42 U.S.C. §§ 1983, 1988. Jurisdiction is
    8      based upon 28 U.S.C. §§ 1331, 1343 (1–4). Supplemental jurisdiction exists over
    9      the state claims and Defendants pursuant to 28 U.S.C. § 1367. Plaintiffs have
   10      satisfied the Tort Claims Act as to California state law claims made herein.
   11   2. The claims alleged herein arose from events or omissions that occurred in the
   12      County of Los Angeles. Therefore, venue lies in the Central District of California
   13      pursuant to 28 U.S.C. § 1391(b)(2).
   14
   15                                          PARTIES
   16   3. At all times relevant herein, Plaintiffs were residents of Los Angeles County,
   17      California. Plaintiff Karla Garcia Aranda is the mother of minor Plaintiff B.A.
   18      Plaintiff Alfredo Aranda is B.A.’s father. At the time of the incidents giving rise
   19      to the causes of action began, B.A. was the age of eleven years old.
   20   4. Plaintiffs are informed, believe, and thereupon allege that Defendant COUNTY
   21      OF LOS ANGELES (“Defendant County”) is a duly constituted governmental
   22      entity in the State of California, and is, or was, the employer of all individually
   23      named Defendants including, but not limited to, those who are sued in their
   24      individual and official capacities, as well as one, or all, of Defendant DOES 1
   25      through 10.
   26   5. The identities, capacities, and/or or nature of involvement of Defendant DOES 1
   27      through 10 (“Doe Defendants”) are presently unknown to Plaintiffs. Plaintiffs
   28      therefore sue such persons using “Does” as fictitiously-named defendants.

                                                  - 2-
                                                         First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 3 of 54 Page ID #:216



    1      Plaintiffs are informed, believe, and thereupon allege that there is likely to be
    2      evidentiary support to prove that each Doe Defendant was involved in some
    3      manner and legally responsible for the acts, omissions, and/or breaches of duty
    4      alleged below. Plaintiffs will amend the Complaint to name the Doe Defendants
    5      upon learning their true identities and roles in the actions complained of herein.
    6   6. All of the facts, acts, omissions, events, and circumstances herein mentioned and
    7      described occurred in the County of Los Angeles, State of California, and the
    8      corporate and/or entity Defendants, and each of them, are residents of the County
    9      of Los Angeles, State of California, and/or have their principal place of business
   10      in said County and State, and/or are doing business in said County and State.
   11   7. Plaintiffs are informed, believe, and thereupon allege that all Does were employed
   12      by Defendant County and were, at all times relevant and material to this
   13      Complaint, acting within the course and scope of their employment duties for
   14      Defendant County, and under color of law. Plaintiffs are informed, believe, and
   15      thereupon allege that each of the individual Defendants’ acts were known to,
   16      discovered by, approved by, and/or ratified by Defendant County, by and through
   17      their policy makers, decision makers, officials, officers, and/or supervisors and
   18      applicable Doe Defendants.
   19   8. Plaintiffs are informed, believe, and thereupon allege that all Defendants
   20      employed by Doe Defendants, at all times relevant and material to this Complaint,
   21      were acting within the course and scope of their employment duties for Doe
   22      Defendants, under color of law. Plaintiffs are informed, believe, and thereupon
   23      allege that each of the individual Defendants’ acts were known to, discovered by,
   24      approved by, and/or ratified by Doe Defendants, by and through policy makers,
   25      decision makers, and/or supervisors, including applicable Doe Defendants.
   26   9. Plaintiffs are informed, believe, and thereupon allege that officials, supervisors,
   27      policy makers, and other individuals with the authority to set or modify municipal
   28      and/or departmental policy, de jure or de facto, of Defendant County and/or Doe

                                                  - 3-
                                                         First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 4 of 54 Page ID #:217



    1      Defendants, participated in, approved of, ratified, and/or failed to prevent the acts
    2      by individually named defendants and Doe Defendants of which Plaintiffs
    3      complain herein.
    4   10. Plaintiffs are informed, believe, and thereupon allege that at all times herein
    5      mentioned, each of the Defendants—including officials, supervisors, watch
    6      commanders, and other policy makers from Defendant County and/or Doe
    7      Defendants and their agents—was the agent, employee, or co-conspirator of one
    8      other, some, or all of their Co-Defendants. Plaintiffs are informed, believe, and
    9      thereupon allege that individually named defendants and each of the Doe
   10      Defendants, acting individually and/or in concert with each other, engaged in a
   11      common plan to wrongfully deprive Plaintiffs, and each of them, of their
   12      respective rights to privacy, familial association, security in person and effects,
   13      freedom from unreasonable seizures, and due process of law, among others
   14      described herein. In doing each and all of the things herein mentioned, or
   15      neglecting or intentionally failing to rectify said misconduct, each and all
   16      Defendants were acting pursuant to a de facto policy and within the scope of such
   17      agency, employment, and conspiracy and with full permission, knowledge,
   18      approval, ratification, and support of each other.
   19   11. At all times relevant herein, Defendant COUNTY OF LOS ANGELES,
   20      DEPARTMENT OF CHILDREN AND FAMILY SERVICES ("DCFS") was and
   21      is a subdivision or entity of the COUNTY OF LOS ANGELES.
   22   12. At all times relevant herein, Defendant social worker, RUBEN JIMENEZ, ("CSW
   23      JIMENEZ") was an individual residing, on information and belief, in the County
   24      of Los Angeles, and an officer, agent and employee of COUNTY and DCFS,
   25      acting under color of law and within the course and scope of his employment, and
   26      driven by COUNTY'S official policies and practices.
   27   13. At all times relevant herein, Defendant social worker ILANA LARA ("CSW
   28      LARA") was an individual residing, on information and belief, in the County of

                                                   - 4-
                                                          First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 5 of 54 Page ID #:218



    1      Los Angeles, and an officer, agent and employee of COUNTY and DCFS, acting
    2      under color of law and within the course and scope of her employment, and driven
    3      by COUNTY'S official policies and practices.
    4   14. At all times relevant herein, Defendant social worker MELISSA RAMIREZ
    5      ("CSW RAMIREZ") was an individual residing, on information and belief, in the
    6      County of Los Angeles, and an officer, agent and employee of COUNTY and
    7      DCFS, acting under color of law and within the course and scope of her
    8      employment, and driven by COUNTY'S official policies and practices.
    9   15. At all times relevant herein, Defendant social worker LYDIA BUENO ("CSW
   10      BUENO") was an individual residing, on information and belief, in the County of
   11      Los Angeles, and an officer, agent and employee of COUNTY and DCFS, acting
   12      under color of law and within the course and scope of her employment, and driven
   13      by COUNTY'S official policies and practices.
   14   16. At all times relevant herein, Defendant social worker ALEXANDRA RONCES
   15      ("CSW RONCES") was an individual residing, on information and belief, in the
   16      County of Los Angeles, and an officer, agent and employee of COUNTY and
   17      DCFS, acting under color of law and within the course and scope of her
   18      employment, and driven by COUNTY'S official policies and practices.
   19   17. At all times relevant herein, Defendant social worker GLADYS ESCOBEDO
   20      ("CSW ESCOBEDO") was an individual residing, on information and belief, in
   21      the County of Los Angeles, and an officer, agent and employee of COUNTY and
   22      DCFS, acting under color of law and within the course and scope of her
   23      employment, and driven by COUNTY'S official policies and practices.
   24   18. At all times relevant herein, Defendant social worker EVITA SALAS ("CSW
   25      SALAS") was an individual residing, on information and belief, in the County of
   26      Los Angeles, and an officer, agent and employee of COUNTY and DCFS, acting
   27      under color of law and within the course and scope of her employment, and driven
   28      by COUNTY'S official policies and practices.

                                                - 5-
                                                       First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 6 of 54 Page ID #:219



    1   19. At all times relevant herein, Defendant social worker ANTONIA LOPEZ ("CSW
    2      LOPEZ") was an individual residing, on information and belief, in the County of
    3      Los Angeles, and an officer, agent and employee of COUNTY and DCFS, acting
    4      under color of law and within the course and scope of her employment, and driven
    5      by COUNTY'S official policies and practices.
    6   20. At all times relevant herein, Defendant social worker RACHEL SIMONS ("CSW
    7      SIMONS") was an individual residing, on information and belief, in the County of
    8      Los Angeles, and an officer, agent and employee of COUNTY and DCFS, acting
    9      under color of law and within the course and scope of her employment, and driven
   10      by COUNTY'S official policies and practices.
   11   21. At all times relevant herein, Defendant social worker GLORIA MEJIA ("CSW
   12      MEJIA") was an individual residing, on information and belief, in the County of
   13      Los Angeles, and an officer, agent and employee of COUNTY and DCFS, acting
   14      under color of law and within the course and scope of her employment, and driven
   15      by COUNTY'S official policies and practices.
   16   22. At all times relevant herein, Defendant social worker STEPHANIE MORALES
   17      ("CSW MORALES") was an individual residing, on information and belief, in the
   18      County of Los Angeles, and an officer, agent and employee of COUNTY and
   19      DCFS, acting under color of law and within the course and scope of her
   20      employment, and driven by COUNTY'S official policies and practices.
   21   23. At all times relevant herein, Defendant social worker LAURA LUNA ("CSW
   22      LUNA") was an individual residing, on information and belief, in the County of
   23      Los Angeles, and an officer, agent and SUPERVISING employee of COUNTY
   24      and DCFS, acting under color of law and within the course and scope of her
   25      employment, and driven by COUNTY'S official policies and practices.
   26   24. At all times relevant herein, Defendant social worker SANDRA JIMENEZ
   27      ("CSW S. JIMENEZ") was an individual residing, on information and belief, in
   28      the County of Los Angeles, and an officer, agent and employee of COUNTY and

                                                - 6-
                                                       First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 7 of 54 Page ID #:220



    1      DCFS, acting under color of law and within the course and scope of her
    2      employment, and driven by COUNTY'S official policies and practices.
    3   25. At all times relevant herein, Defendant Sheriff PACHECO ("OFFICER
    4      PACHECO") was an individual residing, on information and belief, in the County
    5      of Los Angeles, and an officer, agent and employee of COUNTY, the Sheriffs'
    6      Department, acting under color of law and within the course and scope of his
    7      employment.
    8   26. At all times relevant herein, Defendant Sheriff ESPINOZA ("OFFICER
    9      ESPINOZA") was an individual residing, on information and belief, in the County
   10      of Los Angeles, and an officer, agent and employee of COUNTY, the Sheriffs'
   11      Department, acting under color of law and within the course and scope of his
   12      employment.
   13   27. As a result of the acts and omissions alleged herein, Minor Plaintiff B.A. suffered
   14      physical abuse, neglect, PTSD, anxiety, fear, hopelessness, depression, forced
   15      separation, inability to focus and concentrate, trouble sleeping, severe and
   16      profound emotional and mental distress.
   17   28. As a result of the acts and omissions alleged herein, Plaintiff Karla Garcia Aranda
   18      suffered forced separation, PTSD, anxiety, fear, hopelessness, depression,
   19      inability to focus and concentrate, trouble sleeping, severe and profound
   20      emotional and mental distress.
   21   29. As a result of the acts and omissions alleged herein, Plaintiff Alfredo Aranda
   22      suffered forced separation, PTSD, anxiety, fear, hopelessness, depression,
   23      inability to focus and concentrate, trouble sleeping, severe and profound
   24      emotional and mental distress.
   25   30. Minor Plaintiff B.A. presented his Tort Claim on 1-16-18 and Amended Tort
   26      Claim on 1-31-18 within one year of release to Plaintiff Karla Garcia's custody on
   27      10-9-2017. His cause of action accrued on 10-9-2017, under Government Code
   28      Section 911.4 (c) (2) (A) based on the fact that Minor Plaintiff was in the custody

                                                  - 7-
                                                         First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 8 of 54 Page ID #:221



    1      and control of defendant County DCFS to which this claim was to be presented
    2      and under (c) (3) on the grounds that Minor Plaintiff was a dependent child of the
    3      juvenile court under the Arnold-Kennick Juvenile Court Order (commencing with
    4      Section 200) of Part 1 of Division 2 of the Welfare and Institutions Code, without
    5      a guardian ad litem or conservator for purposes of filing civil actions until
    6      released to his mother, Plaintiff Karla on 10-9-2017.
    7   31. Minor Plaintiff B.A.'s. Tort Claim was rejected on 2-15-2018. Plaintiff KARLA
    8      GARCIA ARANDA was appointed guardian ad litem for minor Plaintiff B.A.
    9   32. Plaintiffs' counsel filed a N 570 petition and obtained a court order in dependency
   10      court pursuant to Welfare and Institutions Code section 827 to inspect and copy
   11      Plaintiffs' confidential juvenile court records and DCFS records for use in this
   12      litigation.
   13   33. This action for damages arises from Minor Plaintiff B.A.'s more than two year
   14      forced separation from his parents, Plaintiff Karla Garcia Aranda and Plaintiff
   15      Alfredo Aranda, based on falsified domestic violence reports by two Sheriff s
   16      officers in retaliation for Alfredo's complaint against said officers, based on
   17      falsified allegations, based on falsified SDM Assessments, based on falsified
   18      DCFS request for protective order, falsified dependency petitions, falsified court
   19      reports, falsified placement agreements, and forgery, committed by at least two
   20      dozen DCFS social workers, supervisors, and administrators.
   21                                      INTRODUCTION
   22   34. In the Defendant County of Los Angeles ("County") and Defendant Department
   23      of Children and Family Services ("DCFS"), the widespread use of perjury by
   24      social workers to secure custody of hundreds of thousands of children without
   25      cause reached critical mass in 2017. Approximately two thousand (2000) children
   26      were removed from four thousand (4000) parents each month - a total of seventy-
   27      two thousand (72,000) children and parents. Based on Defendant County's
   28

                                                  - 8-
                                                         First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 9 of 54 Page ID #:222



    1      records, eighty three percent (83% i.e. 1600, out of the 2000), were never abused
    2      or neglected; 10 % were physically abused, and 7% were sexually abused.
    3   35. The children are warehoused in undisclosed locations without a trial or evidence
    4      with limited monitored contact with parents. The visits are 2 to 4 hours per week
    5      at a McDonalds or a room in the local DCFS office. Forced separation of children
    6      from their parents is child abuse leading to permanent and irreparable damage.
    7   36. In 2016, approximately 1500 perjured dependency petitions were filed each
    8      month by Defendant County against 1600 well cared for children (never
    9      abused/neglected) taken from 3200 parents for a total 38,400 parents and 19,200
   10      children. Court appointed attorneys instructed indigent parents to abandon their
   11      due process rights to trial on the pretext that the judge does not like them or their
   12      case. The court rubber stamped the perjury based on the no contest pleas and
   13      ordered 19,200 children into foster care without trials or evidence. Each foster
   14      child brings Defendant County up to $150,000.00 per year in federal foster care
   15      funds under Title IV E of the Social Security Act and state foster care funds for a
   16      total estimated $2 Billion in 2017 for unnecessary foster care for an estimated
   17      19,200 children seized from 38,400 parents.
   18   37. Historically, social worker perjury has been a defining issue in Defendant County
   19      for over twenty (20) years. In 1995, the Legislature held statewide hearings
   20      leading to enactment of Government Code Section 820.21 (Gov't Code) to curb
   21      the use of social worker perjury and false evidence by removing immunity to
   22      allow parents and children to hold social workers accountable. The 1995
   23      Legislative Digest documented numerous complaints of widespread perjury in
   24      dependency court proceedings; the majority of the parents indigent and, on advice
   25      of counsel, pled no contest leaving the perjury unchecked and rubber-stamped by
   26      "unwitting" hearing officers who ordered well cared for children into foster care
   27      without evidence or trial.
   28

                                                  - 9-
                                                         First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 10 of 54 Page ID #:223



     1   38. Since 1995, the unchecked use of perjury by Defendant County and Defendant
     2      DCFS' social workers surged notwithstanding enactment of Gov't Code Section
     3      820.21. In 2012, approximately nine hundred (900) children were removed each
     4      month from 'one thousand eight hundred (1800) parents for an estimated $1.8
     5      Billion in Title IV E federal foster care funds and state foster care funds. As
     6      alleged above, by 2017, the number of children removed each month surged to
     7      two thousand (2000) bringing the Defendant County $2.2 billion in Title IV E
     8      federal foster care funds.
     9   39. Since enactment of section 820.21 in 1995, the unfettered use of malicious perjury
    10      and falsified documents to secure custody of hundreds of thousands of children
    11      for placement in foster care driven by financial incentives continues unabated in
    12      counties statewide, including Defendant County. (See California Department of
    13      Social Services, Stakeholders Report, 2002). Plaintiffs herein identified hundreds
    14      of parents who also lost their children due to perjury, falsified evidence, and
    15      deception, who agreed to come forward to testify that the same thing happened to
    16      them that happened to Plaintiffs; that Defendant DCFS removed their children
    17      based on perjury, fraud, deception, and coercion without evidence or trial. The
    18      testimony of these families is consistent with the Legislative findings documented
    19      in the Legislative digest in 1995 that attorneys strongly advised parents to plead
    20      no contest to perjury and false allegations.
    21   40. California's Little Hoover Commission also found that the overwhelming majority
    22      of the children should not have been removed from parental custody into foster
    23      care where the risk of abuse and neglect is ten times greater than in the general
    24      population, including Defendant County, the suicide rate is double, as well as
    25      drug addiction, school drop outs, and minor motherhood. (See The Little Hoover
    26      Report, 2005 and Report, 2002).
    27   41. Accordingly to the Los Angeles County Grand Jury in 2009, a shocking 70% of
    28      California prison inmates come from the foster care system, referred to herein as

                                                   - 10-
                                                           First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 11 of 54 Page ID #:224



     1      “The faster care prison industrial complex”. But there's more, by 2017, sex
     2      slavery, trafficking, and prostitution of 12-14 year old foster children under court
     3      ordered supervision accounted for 70% of the sex trade statewide, including
     4      Defendant County.
     5   42. Thousands of separated children are routinely placed in harm's way in Defendant
     6      County's foster care system to suffer abuse, neglect, rape suicide, drug addiction,
     7      academic failure, minor motherhood, sex slavery, trafficking, and prostitution in
     8      the “The Foster Care Prison Industrial Complex.”
     9   43. The Legislative intent to protect children and preserve families is set forth in
    10      Welfare and Institutions Code (WIC) section 202 and section 16000 (a). Section
    11      202 provides in pertinent part as follows: "The purpose of this Chapter is to
    12      provide for the protection and safety of the public and each minor under the
    13      jurisdiction of the juvenile court and to preserve and strengthen the minor's family
    14      ties whenever possible, removing the minor from the custody of his or her parents
    15      only when necessary for his or her welfare or for the safety and protection of the
    16      public.
    17   44. WIC section 16000 (a) provides in pertinent part as follows: "It is the intent of the
    18      Legislature to preserve and strengthen a child's family ties whenever possible,
    19      removing the child from the custody of his or her parents only when necessary for
    20      his or her welfare or for the safety and protection of the public."
    21   45. The Legislature promulgated SDM Policy and Procedures Manual, SDM 3.07
    22      October 2015 (Structured Decision Making System) which imposes mandatory
    23      statutory duties on social workers to assess domestic violence and substance
    24      abuse, as in this case, in accordance with the definitions set forth in the SDM
    25      Hotline Tools Definitions, the SDM Safety Assessment Definitions, and the SDM
    26      Safety Assessment Definitions.
    27   46. SDM Safety Assessment Definitions SDM Safety Assessment (p. 30) imposed
    28      mandatory duties on social workers to "mark all criteria that apply" and "do not

                                                   - 11-
                                                           First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 12 of 54 Page ID #:225



     1      mark items if the caller's information does not reach the threshold of the definition
     2      for an item". "Appropriate Completion. Workers should familiarize themselves
     3      with the items that are included on the safety assessment and the accompanying
     4      definitions. (p. 50) What distinguishes SDM is that is ensures that every worker is
     5      assessing the same items in each case, and that the responses to these items lead to
     6      specific decisions. SDM ensures that the specific items that comprise the safety
     7      assessment are assessed at the sometime during the initial contact ... Record the
     8      date of the safety assessment. The date of assessment is typically the date that the
     9      worker made the initial face-to-face contact with the child to assess safety.
    10   47. SDM Hotline Tools Definitions (p. 11) imposed mandatory statutory definitions
    11      of domestic violence as follows: "incidents that occur while the child is present"
    12      and on page 12 as "[t]he child has witnessed, intervened in, or is otherwise aware
    13      of physical altercations, serious verbal threats, or intimidation between adults in
    14      the home".
    15   48. SDM Safety Assessment Definitions (page 38) imposed the mandatory statutory
    16      threshold definition of domestic violence as follows: "[d]omestic violence likely
    17      to injure child. There have been incidents of household violence that created
    18      danger of serious physical injury to a child AND there is reason to believe that
    19      this may occur again (e.g. alleged domestic violence perpetrator and victim are
    20      still involved in relations; a pattern of household violence continues to exist) and
    21      or a recent history of one or more physical assaults between intimate members of
    22      the household known by credible reports.”
    23   49. The SDM Hotline Tools Definitions imposed mandatory duties on social workers
    24      to "Evaluate out: No Criteria are marked. Mark this decision if no criteria in
    25      Section A are6 marked, which means that the report does not meet the statutory
    26      requirements for an in-person response". (p. 19) The SDM Hotline Tools
    27      Definitions imposed mandatory duties on social workers to “mark all criteria that
    28

                                                  - 12-
                                                          First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 13 of 54 Page ID #:226



     1      apply. Do not mark items if the caller's information does not reach the threshold
     2      of the definition for an item.” (p. 30)
     3   50. SDM Safety Assessment Definitions in Section 1: Safety Threats (p.52) imposed
     4      mandatory duties on social workers to assess critical threats in every case: “This
     5      is a list of 10 critical threats (nine identified and defined and an “other”) that must
     6      be assessed by every worker in every case. These threats cover the kinds of
     7      conditions that, if they exist, would render a child in danger of immediate, serious
     8      harm.”
     9   51. The Legislature promulgated California Department of Social Services (CDSS)
    10      Manual of Policies and Procedures (MPP) Division 31-135 to implement express
    11      Legislative intent in WIC section 16000 (a) and section 202 to protect children
    12      and preserve and strength family ties. The MPP provides in pertinent part, as
    13      follows: GENERAL 31-001 ".1 The requirements specified in Sections 31-005
    14      through 31-525 shall be met by the county in the administration of child welfare
    15      services."
    16   52. MPP Division 31-135 imposed mandatory statutory duties on Defendant County,
    17      Defendant DCFS, and Defendant social workers, to "ensure" that authority to
    18      remove the child exists prior to removal as follows: "when a social worker
    19      determines that the child cannot be safely maintained in his/her own home, the
    20      social worker must ensure that authority to remove a child exists prior to
    21      removal."
    22   53. MPP Division 31-320.2 imposed mandatory statutory duties on Defendant
    23      County, Defendant DCFS, and Defendant social workers, to visit the child three
    24      times during the first 30 days in foster care.
    25   54. MPP Division 31-320.3 imposed mandatory statutory duties on Defendant
    26      County, Defendant DCFS, and Defendant social workers, to thereafter visit the
    27      child monthly.
    28

                                                      - 13-
                                                              First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 14 of 54 Page ID #:227



     1   55. MPP Division 31-330 imposed mandatory statutory duties on Defendant County,
     2      Defendant DCFS, and Defendant social workers, to have monthly contacts with
     3      the care provider.
     4   56. MPP Division 31-401.5 imposed mandatory statutory duties on Defendant
     5      County, Defendant DCFS, and Defendant social workers, to place children in an
     6      appropriate licensed or approved facility.
     7   57. MPP Division 31-410. 52 imposed mandatory statutory duties on Defendant
     8      County, Defendant DCFS, and Defendant social workers, to temporarily place
     9      children in an appropriate licensed or approved facility.
    10   58. Under Health and Safety Code section 1508, a valid license for foster care is
    11      required.
    12   59. To "ensure that authority to remove a child [based on domestic violence and
    13      substance abuse] exists prior to removal" in accordance with mandatory statutory
    14      duties imposed by MPP Division 31-135, Defendant County, Defendant DCFS
    15      Policy 0070-502.10 "Child Protection Hotline" imposed mandatory duties on the
    16      Child Abuse Hotline worker to "identify the types of calls which constitute
    17      appropriate child abuse referrals pursuant to law and Structured Decision Making
    18      (SDM) Tools and to elicit the purpose of the call from the caller by allowing the
    19      caller to explain why they contacted the Department and asking pertinent follow-
    20      up questions. Continue gathering relevant information from the caller until you
    21      are able to assess whether or not a referral is warranted. 5. If you determine that a
    22      referral is warranted: b. Elicit all pertinent information known to the caller that
    23      would enable you to accurately answer the questions contained in the SDM
    24      Hotline Tool decision trees and arrive at an appropriate response determination."
    25   60. Defendant DCFS Policy 0070-502.10 "Child Protection Hotline" 'Classifying
    26      Allegations' imposed mandatory duties on workers to "complete one SDM
    27      Hotline tool for each allegation."
    28

                                                   - 14-
                                                           First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 15 of 54 Page ID #:228



     1   61. 'Defendant DCFS Policy 0070-502.10 "Child Protection Hotline" 'Classifying
     2      Allegations' imposed mandatory duties on the worker to complete the SDM
     3      Hotline tool to the referral and forward to the Supervising Children's Social
     4      Worker (SCSW) and mandatory duties on the supervising worker to "review the
     5      referral and the SDM Hotline tool used by the CSW for thoroughness and
     6      accuracy. If not, take action to correct the referral.
     7   62. Defendant DCFS Policy 0070-537.10 "Assessment of Domestic Violence"
     8      requires that a child be exposed to and or is the victim of domestic violence, and
     9      that the worker complete the Structured Decision Making Safety Assessment and
    10      Family Risk Assessment Forms.
    11   63. In accordance with MPP Division 31-135's mandatory duties to "ensure that
    12      authority to remove a child for physical abuse exists prior to removal", Defendant
    13      DCFS Policy 0070-548 "Taking Children into Temporary Custody" provides as
    14      follows: "Complete the SDM Safety Assessment within two business days of
    15      initial contact for all referrals ... 2. If one or more safety threats are present, and
    16      placement is the only protecting intervention possible, determine legal ground for
    17      detention. This requires at least one of the following: a. Parental consent; b.
    18      Exigent circumstances; c. Court order for detention d. If you don't get parental
    19      consent or exigent circumstances, contact your SCSW and start gathering
    20      information for a warrant." 3/8 Policy 0070-548.
    21   64. Defendant DCFS Policy 0300-303.15 "Writing the Detention Report" imposes
    22      additional mandatory duties on social workers as follows: "Prior to creating the
    23      Detention Report complete the following: ... Complete the SDM Safety and Risk
    24      Assessment tools", Defendant County and Defendant DCFS' Policy 0300-303.15
    25      also imposes mandatory duties on emergency response supervising social workers
    26      and assistant regional administrators to implement Division 31-135 as follows:
    27      "Review the packet, Detention Report, and any supporting documents, including
    28      all SDM tools used".

                                                    - 15-
                                                            First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 16 of 54 Page ID #:229



     1   65. In accordance with mandatory statutory duties imposed by MPP Division 31-135
     2      to "ensure that authority to remove a child exists prior to removal", Defendant
     3      DCFS Policy 0300-303.15 "Writing the Detention Report" also requires the CSW
     4      to obtain information regarding the children's medical, mental, emotional and
     5      school history and potential needs ... and prior to creating the Detention Report,
     6      the CSW is required to review the on-line case records to ensure the information
     7      is recorded and correct. The ER SCSW is required to review the packet, Detention
     8      Report, any an~ all supporting documents, including all SDM tools used. If
     9      approved, sign and date the report and return the packet to the SCSW for on-line
    10      approval. The ER ARA is also required to review the packet, Detention Report,
    11      any and all supporting documents, including all SDM tools used.
    12   66. In accordance with mandatory statutory duties imposed by MPP Division 31-135
    13      to "ensure that authority to remove a child exists prior to removal", Defendant
    14      DCFS Policy 0300-503.10 "Writing the Jurisdiction Report", requires that the
    15      report be based on an independent investigation by the social worker and that the
    16      DI CSW review the online case record and update the case record if necessary.
    17      Section 5. Requires the CSW to document all contacts in the Contact Notebook
    18      (Delivered Services Log). The DI SCSW is required to review the Contact
    19      Notebook on line and the Jurisdiction/Disposition packet and approve the report.
    20      The ARA is also required to review the Jurisdiction/Disposition packet, including
    21      all SDM tools used, and approve the report.
    22   67. Typically, Defendant DCFS social workers fabricate "authority" to remove
    23      children maliciously by marking items as a risk on SDM Assessment tools that do
    24      not meet the SDM or DCFS definitions and by fabricating child abuse allegations
    25      in some 1500 deceptive WIC section 300 petitions; and by covering up known
    26      material exculpatory evidence committed with malice for which there is no
    27      immunity under Gov't Code section 820.21.
    28

                                                  - 16-
                                                          First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 17 of 54 Page ID #:230



     1   68. The Defendant DCFS' systemic use of perjury, deception, lies, cover-up, and
     2      despicable criminal conduct since at least 1987, forced separation of thousands of
     3      children constituting government sanctioned child abuse with life altering
     4      damages including Minor Plaintiff B.A. Defendant DCFS social workers deprived
     5      families of human, legal, and constitutional rights resulting in profound damages,
     6      civil judgments, and settlements in the tens of millions of dollars and counting.
     7   69. In practice, as in this case, Defendant social workers falsified the SDM Safety
     8      Assessments by marking risk and safety items they knew did not meet the DSM
     9      definition to secure removal of B.A. in clear violations of mandatory duties
    10      imposed by CDSS MPP Division 31-001 and 31-135 constituting felonies under
    11      Penal Code Section 115.
    12   70. In addition to falsified SDM Safety and Risk Assessments in violation of CDSS
    13      MPP Division 31-135, Defendant social workers also filed numerous perjured
    14      documents in dependency court, falsified evidence, concealed exculpatory
    15      evidence, and committed forgery to conceal B.A.'s placement with an unlicensed
    16      individual for three months whose day care license was revoked by the state six
    17      months prior to B.A.s' placement. This individual was repeatedly investigated by
    18      law enforcement for domestic violence prior to and during B.A.'s illegal
    19      placement. On numerous occasions when law enforcement came to the Urbina
    20      house, B.A. was locked in the closet for hours with no air or light.
    21   71. Unlicensed Urbina had no provider number, therefore, she was not paid by DCFS
    22      for B.A. Plaintiff Karla was threatened by this individual that if Karla did not pay
    23      her $200, she would steal B.A's identity. Karla paid the demand and Urbina still
    24      purchased items using his social security number.
    25   72. Thereafter, Defendant social workers removed B.A. from Urbina and placed him
    26      in more than a dozen foster homes until he was released to Karla's custody on
    27      October 9, 2017.
    28

                                                  - 17-
                                                          First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 18 of 54 Page ID #:231



     1   73. On 8-8-2017, Plaintiff Alfredo Aranda was sent to the Adelanto detention center
     2      for immediate deportation. At Adelanto, Alfredo was denied adequate medical
     3      care resulting in severe liver damage, suffering cruel, and unusual punishment.
     4      Alfredo was released on 2-4-2018 with severe damages due to lack of medical
     5      care causing permanent injuries.
     6   74. Plaintiffs seek redress for Defendants' cruel and inhumane forced separation, child
     7      abuse, attempted deportation, perjury, falsified evidence, from cover-up, and
     8      malicious violation of mandatory statutory duties imposed by MPP 31-135 and
     9      31-320/2. 31-320.3, 310- 330, 31-401.5, 31-410.52, Health and Safety Code
    10      section 1508 (valid license required for foster care) and by California Structured
    11      Decision Making Definitions; intentional infliction of emotional distress, willful
    12      and wanton misconduct as well as violations of federal law pursuant to 42 U.S.C.
    13      § 1983 including violations of Due Process, Fourth and Fourteenth Amendments
    14      of the United States Constitution, the Civil Rights Act of 1991 and 1964, as
    15      amended, 42 U.S.C. § 2000e-3; 42 U.S.C § 2000e-16 et. seq., and Monell
    16      violations. Each Plaintiff alleges damages in excess of $5,000,000.00.
    17                              COMMON ALLEGATIONS
    18   75. In 2013, Minor Plaintiff B.A. (age 11) was well cared for, happy, and healthy in
    19      his child centered home with his mother and father, Karla Garcia Aranda, and
    20      Alfredo Aranda. Karla and Alfredo were employed with no criminal records.
    21      B.A.' s grades, attendance and class participation were rated as good by his
    22      teacher, Javier Landarzuri. Karla and Alfredo were active in meeting with B.A.' s
    23      teachers at parent teachers’ meetings.
    24   76. In October 2013, Alfredo submitted Complaint # 234483 against Los Angeles
    25      Sheriffs Dept. officers, Defendants Pacheco and Espinoza, for inappropriate
    26      conduct.
    27   77. In retaliation for Alfredo's complaint to LASD, Defendant Pacheco and Defendant
    28      Espinoza reported a false domestic violence call to the DCFS Hotline on Alfredo

                                                     - 18-
                                                             First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 19 of 54 Page ID #:232



     1      and Karla on December 28, 2013 to secure removal of B.A. from Alfredo and
     2      Karla's custody. The Hotline refused to open a case based an isolated incident.
     3   78. To establish the "history" DCFS required to remove B.A., Defendant Pacheco and
     4      Defendant Espinoza falsified a second domestic violence report on 5-5-2014 to
     5      the DCFS Hotline on Alfredo Aranda and Karla Garcia purportedly received by
     6      LASD on 12-29-2011.
     7   79. On 12-31-2013, Alfredo moved to his parent's home to ensure B.A. was not
     8      seized by Defendant DCFS.
     9   80. On 1-9-2014, Karla met with CSW Georgina Barahona and agreed to enroll in
    10      domestic violence classes and counseling. CSW Barahona questioned B.A. about
    11      the domestic violence. B.A. stated that he never saw any domestic violence and
    12      was safe at home.
    13   81. On 4-15-14, Karla signed a Voluntary Family Maintenance case plan with DCFS
    14      to ensure B.A. was not removed from her custody.
    15   82. On 4-24-2014, the CSW requested the call log from LASD for the purported DV
    16      call on 12-28-13. The CSW learned there was no such call as follows: "On
    17      4/24/2014, DCFS requested the call logs to the family and home address from
    18      East Los Angeles Sheriff s Department records and was informed there were no
    19      calls recorded for 2013 as reported by the reporting party." In addition, there was
    20      no call to LASD on December 28, 2013 according to official LASD's Call Logs
    21      obtained by Karla from LASD as recent as July and August 2017.
    22   83. On 5-5-2014, Defendant Pacheco and Defendant Espinoza falsified a second
    23      domestic violence call to the DCFS Hotline purportedly received by LASD on 12-
    24      29-11, three years prior. This was another ruse/pretext for DCFS to seize B.A.
    25      from Karla's custody for placement in foster care based on a "history" of domestic
    26      violence fabricated by Defendant Pacheco and Defendant Espinoza. As alleged
    27      above, as recent as July and August 2017, there was no call to LASD on 12-29-
    28      11, according to official LASD's Call Logs obtained by Karla from LASD.

                                                  - 19-
                                                          First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 20 of 54 Page ID #:233



     1   84. On 5-5-2014, a Defendant DCFS CSW removed B.A. from Karla's custody based
     2      on the two domestic violence referrals fabricated by Defendant Pacheco and
     3      Defendant Espinoza even though there was no call log on either 12-28-13 or 12-
     4      29-11; even though B.A. stated to CSW Barahona on 1-9-14, that he heard and
     5      observed no domestic violence, even though Alfredo was no longer in the home
     6      since 12-31-14; even though Karla was in a Voluntary Case Plan under DCFS
     7      supervision; and even though there was no domestic violence as defined in the
     8      Penal Code and California Structured Decision Manual Definitions.
     9   85. The 8DM Definition for domestic violence requires current, ongoing DV to
    10      prove/show a risk of harm to the child to justify removal. In this case, the last
    11      purported domestic violence incident occurred four months prior to removal, if at
    12      all. Under the statutory SDM Definitions, an incident four months prior is not
    13      "current and ongoing", hence, these facts failed to meet the statutory definition to
    14      authorize removal under MPP 31-135. In addition, B.A. was already protected
    15      under the Voluntary Case Plan with DCFS, his parents were separated with no
    16      contact as instructed by DCFS. The restraining order secured by Defendants
    17      Pacheco and Defendant Espinoza against Alfredo was in full force and effect.
    18   86. On 5-8-14, a CSW filed a perjured WIC 300 petition and detention report based
    19      on the two purported D V referrals falsified by Pacheco and Espinoza. At the
    20      hearing in dependency court, Defendants Pacheco and Defendant Espinoza
    21      testified that the red blotches of skin on Karla's chest and neck in the LASD photo
    22      were injuries inflicted by her husband, Alfredo, knowing the red blotches were
    23      caused by Karla's Lupus, an inflammatory skin condition that breaks out under
    24      periods of stress and pressure. In fact, Karla broke out with the same red blotches
    25      in court as shown in the photograph purporting to depict physical abuse by
    26      Alfredo.
    27   87. The dependency court sustained the petition at the jurisdiction hearing based on
    28      the perjured testimony of Defendant Pacheco and Defendant Espinoza and

                                                   - 20-
                                                           First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 21 of 54 Page ID #:234



     1      immediately released B.A. to Karla's custody based on the following conditions:
     2      (1) divorce Alfredo Aranda; (2) comply with the LASD restraining order
     3      forbidding Alfredo to be around her or B.A; (3) complete court ordered programs;
     4      and (4) maintain monitored visits between B.A. and Alfredo, several hours per
     5      week.
     6   88. From 5-8-14 continuing to 6-2-15, CSW Arroyo and SCSW Gandarilla closely
     7      supervised and monitored B.A., Karla, and Alfredo. CSW Arroyo and SCSW
     8      Gandarilla confirmed and verified Karla's and B.A.'s compliance with all court
     9      orders based in part, on face to face contact in the home on no less than a dozen
    10      occasions.
    11   89. On 6-2-15, CSW Arroyo and SCSW Gandarilla filed a Status Review Report in
    12      dependency court that recommended jurisdiction be terminated with full custody
    13      of B.A. to Karla based on Karla's full compliance with all court orders.
    14   90. CSW Arroyo and SCSW Gandarilla recommended that the court terminate
    15      jurisdiction with a family law order giving mother Karla Garcia full physical and
    16      legal custody of minor B.A.
    17   91. CSW Arroyo reported that "Mother has been responsible for the minor's basic
    18      needs and following the court order of not having any contact with father. Mother
    19      has demonstrated to be willing to comply with court orders … Brian is well
    20      cared for and actively participating in school." (emphasis added).
    21   92. CSW Arroyo reported that, "B.A. had continued to have weekly visits with his
    22      father. B.A. is picked up by godfather Walter Rodriguez who monitors visits in
    23      the area of Southgate, usually on Saturday at the park". (Status Review Report p.
    24      9)
    25   93. CSW Arroyo reported that, "[A]n in-house assessment by CSW Arroyo to
    26      evaluate the risk level for future abuse or neglect determined to be LOW ... a
    27      reassessment conducted by this SCSW to re-evaluate risk for future abuse or
    28      neglect if the minor remains in the care of Mrs. Garcia was determined to be

                                                  - 21-
                                                          First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 22 of 54 Page ID #:235



     1      LOW ... Therefore, the Department is recommending that the minor remain in
     2      care of his mother Karla Garcia ... It is respectfully recommended that the court
     3      terminate jurisdiction with a family law order giving mother Karla Garcia full
     4      physical and legal custody of minor B.A. Aranda." (Status Review Report p. 9)
     5   94. The next day, on 6-3-15, Huntington Park police officers conducted a drug raid on
     6      Karla's house in Karla's absence, as well as Alfredo's parents' house, and Alfredo's
     7      brother's house. The address on the warrant was Karla's old address where she had
     8      not resided for six months, not the address that they raided. These officers made a
     9      false incident report to DCFS that stated Alfredo was living in the home with
    10      Karla and B.A selling drugs in B.A.' s presence, that drugs in a "clear lock bag"
    11      were found in the wall cabinet in Karla's bathroom (6/23/15 detention report p. 5).
    12      However, the bathroom with the baby clothes in the photo where the drugs were
    13      found, was not Karla's, but her brother in law's. The tile is different, and Karla has
    14      no babies.
    15   95. On 6-4-15, DCFS received the Huntington Park police report that drugs were
    16      found purportedly in Karla's bathroom noted in the Detention Report 6/23/15 by
    17      Defendant CSW Melissa Ramirez and Defendant SCSW Lydia Bueno.
    18   96. On 6-5-15, Emergency Response worker DCFS investigator, Defendant CSW
    19      Melissa Ramirez was assigned to investigate the LASD drug raid referral on
    20      Karla's home. Karla informed Defendant CSW Jimenez that this was not her
    21      bathroom, but her brother-in law's however, Defendant failed to investigate or
    22      take photos of Karla's bathroom. Defendant CSW. Ramirez interviewed the then
    23      current SCSW, Alejandra Gandarilla. This SCSW reported that Karla had
    24      complied with all court ordered programs, had an appropriate support system, that
    25      she saw no drugs or drug use, that Alfredo was not residing in the home, and had
    26      maintained monitored visits with B.A. Defendant CSW Ramirez knew from the
    27      Status Review Report filed on 6-2-15 that CSW Arroyo assessed and re-evaluated
    28      Bryan two days prior to removal as "well cared for and actively participating in

                                                   - 22-
                                                           First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 23 of 54 Page ID #:236



     1      school" and recommended termination of court supervision with full custody to
     2      Karla.
     3   97. On 6-15-15, Defendant CSW Melissa Ramirez filed a false Request for Removal
     4      Order. Defendant swore there was probable cause to believe that continuance in
     5      the home of the parents is contrary to B.A.'s welfare.
     6   98. On 6-18-2015, Defendant CSW Melissa Ramirez and Defendant SCSW Lydia
     7      Bueno, seized B.A. from Karla's custody based on the 6-3-2015 police report that
     8      drugs were found in Karla's bathroom and that Alfredo lived in the home. This
     9      was bald fabrication based on the recommendation several days prior to terminate
    10      jurisdiction based on Karla's full compliance with all court orders including
    11      monitored visits with Alfredo.
    12   99. On 6-19-15, Defendant CSW Lara had a face to face meeting with Martha Urbina
    13      documented in the contact log. Urbina was not licensed or certified for foster care.
    14      She had no DCFS provider number and would not be paid for B.A. 's care by
    15      DCFS. Defendant CSW Lara falsified information in the contact log regarding
    16      Urbina.
    17   100. Defendant CSW Lara falsified the contact log with regard to Urbina's
    18      identifying information. The name stated is "Martha Urbina." The correct spelling
    19      is Urbina The address stated is "725 112 Mayflower, Back Cal. 90270." There is
    20      no "Back, California". The correct address is 6251 Y2 Mayflower in Bell, Cal.
    21      90270. According to California Community Care Licensing records, (1) Ms.
    22      Urbina's address was 6251 Y2 Mayflower in Bell, Cal. 90270; (2) Urbina was
    23      never licensed for foster care; and (3) Community Care Licensing revoked her
    24      day care license on 1-1-15.
    25   101. Defendant CSW Lara documented in the contact log that Urbina stated she
    26      would be willing to care for B.A.
    27   102. On 6-23-2015, Defendant CSW Melissa Ramirez and Defendant SCSW Lydia
    28      Bueno filed a perjured detention report that swore Karla failed to protect B.A.

                                                  - 23-
                                                          First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 24 of 54 Page ID #:237



     1      from Alfredo's drug abuse in the home. This is false. As alleged above, Alfredo
     2      was out of the home since December 2014 and B.A. denied any drug use by
     3      Alfredo and denied that Alfredo resided in the home and social workers verified
     4      Karla followed her Case Plan. Defendant CSW Ronces filed a Welf & Inst Code
     5      section 300 petition under penalty of perjury on the same day based on the
     6      detention report. However, the petition and the detention report were inconsistent
     7      and contradictory. In the detention report, Defendant Ramirez and Defendant
     8      Bueno swore the opposite was true, to wit, that "[t]he family is not an intact
     9      family as it consists of mother Karla Garcia (26) and her son B.A. (sic) Aranda
    10      (12). Mother and father are not together. Father Alfredo Aranda (40) has
    11      monitored visits with the child B.A.". In the petition, Defendant Ronces swore
    12      Karla and Alfredo resided in the home in violation of court orders and Karla
    13      thereby created substantial risk of serious physical harm.
    14   103. At the jurisdictional hearing on the perjured WIC 300 petition, both Karla and
    15      Alfredo pled no contest to perjury on advice of counsel. The court sustained the
    16      perjured petition and ordered monitored visits for B.A. several hours per week.
    17   104. At some point after the meeting with Defendant Lara and Urbina on 6-19-15,
    18      exact date unknown, Defendant Lara placed B.A. in Urbina's custody continuing
    19      for more than three months. There is no record of B.A. 's placement with Urbina.
    20      There is no signed placement agreement. There is no fingerprint clearance. There
    21      was no facility approval. There was no provider number. On numerous occasions,
    22      Urbina threatened to steal B.A.'s identification if Karla did not pay her $200.00
    23      stating she was not being paid by County. Karla complied.
    24   105. Defendant Lara knew when she placed B.A. with Urbina on or about 6-29-15,
    25      that this placement with an unlicensed individual was illegal and violated
    26      mandatory statutory duties: (1) California Community Care Licensing (CCL)
    27      never issued Urbina a foster care license; (2) CCL revoked Urbina's day care
    28      license in January 2015, six months prior to Bryan's placement on 6-29-15; (3)

                                                  - 24-
                                                          First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 25 of 54 Page ID #:238



     1      Defendant never signed a foster parent agreement with Urbina; (4) Defendant
     2      never cleared B.A.'s placement with Defendant DCFS' Central Placement Unit in
     3      violation of DCFS written procedures; (5) DCFS' centralized placement unit did
     4      not place B.A. with Urbina in violation of DCFS written procedures; (6) DCFS'
     5      centralized placement unit has no record of B.A.'s placement with Urbina in
     6      violation of state law and DCFS written procedures.
     7   106. On 7-17-15 an emergency response CS W investigated a domestic violence
     8      referral at the Urbina home involving Urbina and her adult son. This worker
     9      found that domestic violence exists in the home and poses a risk of serious
    10      physical and emotional harm to children as follows: "Parents will not leave any of
    11      the children under PGM's supervision at any time" referring to Urbina. The son
    12      and his wife informed this worker they were moving out of the Urbina home. The
    13      CSW created a 30 day case plan signed by the CSW, Urbina and her son.
    14   107. Despite documented, substantiated domestic violence in an unlicensed home,
    15      unsupervised and unmonitored 12-year-old B.A. was not removed from Urbina
    16      for months despite numerous domestic violence reports.
    17   108. On 7-17-15, Defendant CSW Escobedo replaced Defendant CSW Lara as the
    18      assigned CSW for B.A. Defendant CSW Escobedo continued the cover up of B.A.
    19      's illegal placement with Urbina.
    20   109. On 7-21-15, Urbina informed Defendant Escobedo on a phone call that she
    21      was no longer able to care for B.A. This call was documented in the contact log
    22      and is the first indication that B.A. was placed with Urbina. As alleged above, the
    23      only prior mention of Urbina in the contact log was the entry a month prior on 6-
    24      19-15 documenting a face to face meeting between Defendant Lara and Urbina
    25      wherein Urbina indicated that she would be willing to care for B.A.
    26   110. On 7-21-15, Emergency Response worker, CSW Tanya Russell, went to the
    27      Urbina home to investigate the domestic violence referral involving Urbina and
    28      her adult son. CSW Russell interviewed B.A. in the Urbina home after he was

                                                  - 25-
                                                          First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 26 of 54 Page ID #:239



     1      discovered locked in a room. Karla was there for a visit when Russell arrived and
     2      informed Russell that B.A. was placed in this foster home. CSW Tanya Russell
     3      stated to Karla that no foster children are shown in this facility. CSW Tanya
     4      Russell searched the home and found B.A locked in a room. CSW Russell took no
     5      action with regard to B.A. 's illegal placement. Instead, CSW Russell contacted
     6      the assigned Defendant supervisor (SCSW) on B.A.'s case because Urbina was ill
     7      and on her way to the hospital. The Defendant SCSW agreed with CSW Russell
     8      that B.A. should remain in Urbina's [unlicensed, undocumented] home with
     9      Penelope, the daughter in law involved in the domestic violence investigation
    10      [Contact Log [44, 45/55]
    11   111. The same Defendant SCSW who instructed CSW Russell to leave B.A. in the
    12      Urbina home with Penelope, also instructed Defendant CSW Escobedo to remove
    13      B.A. from Penelope on 7-21-15 and transport him to the home of a family friend,
    14      Josephina Rendon 4542 E. 53rd Street, Bell, Cal. Of note, Rendon was previously
    15      fingerprinted and approved. B.A., however, was not placed with Rendon or
    16      removed from Urbina on 7-21-15.
    17   112. On 7-24-15, Martha Urbina was the caregiver who signed for B.A. to receive
    18      medical care with appointment at Azul Medical Clinic Dean Ferdows, M.D. 4316
    19      E. Slauson Ave, Maywood, Cal. 323)773-2020. [See Azul Medical Records].)
    20   113. On 7-31-15, Defendant CSW Escobedo falsified a detailed face to face contact
    21      with B.A. and Renford at 4542 E. 53rd Street in the contact log which did not
    22      occur because B.A. resided with unlicensed Urbina at 6251 ½ Mayflower in Bell,
    23      Cal. 90201. [Contact Logs 46/55] This contact log entry was falsified to cover
    24      up/conceal the fact that B.A. remained placed, and unsupervised in an unlicensed
    25      facility.
    26   114. On 7-31-15, Defendant CSW Escobedo forged the signature of Josefina
    27      Rendon on a "Relative Caregiver Agreement" for the purported placement of B.A.
    28      with Rendon at 5623 E. 53rd Street that never occurred. Rendon did not sign this

                                                 - 26-
                                                         First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 27 of 54 Page ID #:240



     1      agreement nor reside at 5623 E. 53rd Street. The true facts are that Rendon resided
     2      on 4542 E. 53rd Street, at all times herein. Defendant CSW Escobedo forged the
     3      "Relative Caregiver Agreement" to conceal B.A.' s unsupervised and
     4      undocumented placement in an unlicensed home.
     5   115. On 8-5-15, Defendant CSW Escobedo falsified a second face to face contact
     6      with B.A. at 4542 E. 53rd Street (Rendon's address) in the contact log to further
     7      conceal B.A.'s unsupervised and undocumented placement in the unlicensed home
     8      of Urbina at 6251 ½ Mayflower in Bell, Cal. 90201. [Contact Logs 46/55].
     9   116. On 8-13-15, Nancy Lopez, Defendant County Dept. of Mental Health,
    10      conducted a psychological evaluation of B.A. and filed a Psychological
    11      Examination Form documenting her evaluation in the dependency court file.
    12   117. On 8-14-15, Defendant CSW Ruben falsified a third face to face contact with
    13      B.A. at 4542 E. 53rd Street (Rendon's address) in the contact log to further conceal
    14      B.A.'s unsupervised and undocumented placement in the unlicensed home of
    15      Urbina at 6251 ½ Mayflower in Bell, Cal. 90201. [Contact Logs 46/55].
    16   118. On 8-19-15, Defendant CSW Escobedo falsified a' fourth detailed face to face
    17      contact with B.A. and Renford at 4542 E. 53rd Street in the log that purportedly
    18      occurred the next day - 8-20-2015. B.A. was not placed at 4542 E. 53rd Street on
    19      8-19-15. He remained unsupervised with unlicensed Urbina at 6251 ½ Mayflower
    20      in Bell, Cal. 90201. [Contact Logs 51 and 52/55]
    21   119. On 8-20-15, Defendant CSW Ruben Jimenez and Defendant SCSW Rachel
    22      Simons filed a false jurisdiction/disposition report that stated on page 1 that B.A.
    23      was currently placed with Rendon at 4542 E. 53rd Street. B.A. was residing with
    24      Urbina on 8-20-15. This was further concealment of B.A.' s unsupervised and
    25      undocumented placement in the unlicensed home of Urbina.
    26   120. On page 9 of the jurisdiction/disposition report, Defendant CSW Jimenez
    27      reported that Defendant conducted a face to face visit with B.A. and Karla at
    28      Rendon's home located at 4542 E. 53rd Street on 8-14-15. This is false. B.A. was

                                                  - 27-
                                                          First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 28 of 54 Page ID #:241



     1     residing with Urbina on 8-20-15. This was further concealment of B.A. ' s
     2     unsupervised and undocumented placement in the unlicensed home of Urbina.
     3     Defendant CSW Ruben Jimenez and Defendant SCSW Rachel Simons indicated
     4     that B.A. was assessed on 8-13-15 by Nancy Angeles Lopez LSCW of Los
     5     Angeles County Department of Mental Health, 2629 Clarendon. This assessment
     6     was also documented on the Psychological Examination Form signed by Lopez
     7     and maintained in chart at the County Department of Mental Health.
     8   121. In 2017, however, when Karla requested B.A.'s records from DMH, she was
     9     informed by Silvia Rowe Record Keeper, Record Keeper Supervisor, San Antonio
    10     Family Center 2629 Clarendon Ave., 2nd Floor, Huntington Park, California
    11     90255, that "[A]fter a thorough search of our records, we are returning the request
    12     because client has not been seen at this clinic in the time specified." As alleged
    13     hereinabove, B.A. 's evaluation and treatment by the Mental Health Department
    14     was clearly established by (1) the Psychological Examination Form signed by
    15     Lopez on 8-13-15 and (2) the jurisdiction/disposition report filed on 8-20-15 that
    16     informed the court that B.A. was evaluated at the County Dept of Mental Health
    17     by Nancy Lopez on 8-13-15. B.A.'s DMH chart will show that on 8-13-15, Urbina
    18     was B.A.'s authorized caretaker and B.A. was placed with Urbina at 6251 ½
    19     Mayflower, not Rendon.
    20   122. On 8-19-16, Defendant CSW Evita Salas and Defendant SCSW Antonia
    21     Lopez filed a Status Review Report that informed the court: "On 07/08/2015 a
    22     referral was submitted to DMH Specialized Foster Care program. On 07/30/2015,
    23     B.A. was successfully linked to San Antonio Mental Health clinic located at 2629
    24     Clarendon Ave., 2nd Floor; Huntington Park, CA 90255; 3230584-3700. On
    25     08113/2015 and (sic) initial intake and assessment was completed for B.A. with
    26     Nancy Angeles- Lopez, LCSW, Psychiatric Social Worker." As alleged above, in
    27     a letter dated September 12, 2017 to Karla, Silvia Rowe, stated the following:
    28

                                                 - 28-
                                                         First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 29 of 54 Page ID #:242



     1      "After a thorough search of our records, we are returning the request because
     2      client has not been seen at this clinic in the time specified."
     3   123. On page 10 of the Status Review Report, Defendant Evita Salas and Defendant
     4      SCSW Antonia Lopez informed the court that, "[O]n 08/31/2015, the therapist
     5      was informed B.A. was exhibiting feelings of sadness and difficulties
     6      concentrating due to not being able to live with his mother. Therapist agreed to
     7      meeting with B.A. again, but had difficulty scheduling appointment due to
     8      caregiver having a death in her family. The true facts are that the "caregiver
     9      having a death in her family" is Urbina. Rendon did not have a death in her family
    10      until October 2015.
    11   124. On page 10 of the Status Review Report, Defendant Evita Salas and Defendant
    12      SCSW Antonia Lopez stated, "The court is respectfully referred to the 11/02/2-16
    13      DMH letter from San Antonio Mental Health Center". Italics in the original.
    14      Defendants further informed the court that, "[O]n 10/22/2015, the therapist met
    15      with Bryan and his caregiver Josefina Rendon." This is false. Rendon never met
    16      therapist Lopez.
    17   125. On page 10 of the Status Review Report, Defendant Evita Salas and Defendant
    18      SCSW Antonia Lopez stated, "[F]or current case, B.A. was detained on
    19      06/18/2015 and replaced twice on 06/29/2015 and 07/2112015." This is false.
    20      B.A. was placed with unlicensed Urbina on 6-29-15; he was placed with Josefina
    21      Rendon on 10-1-15. There was no placement on 7-21-2015. On the placement
    22      agreement dated 7-31-2015 purportedly for B.A.' s placement on 7-21-2015 with
    23      Rendon at the wrong address, Defendant Escobedo forged Rendon's signature.
    24   126. On page 10 of the Status Review Report, Defendant Evita Salas and Defendant
    25      SCSW Antonia Lopez further stated, "[A]s of7/21/2015, B.A. has been placed in
    26      the Non Relative home of caregiver Josefina Rendon." Defendant Evita Salas and
    27      Defendant SCSW Antonia Lopez further stated, "This placement continued to be
    28      appropriate for B.A. The caregiver is meeting the child B.A. 's basic needs by

                                                   - 29-
                                                           First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 30 of 54 Page ID #:243



     1      providing food, shelter, clean clothing, medical and dental care. B.A. is thriving
     2      and doing well and had reported he likes the home of the caregiver Josefina
     3      Rendon, but hopes to reunify with his parents."
     4   127. This report is false. B.A. was placed with unlicensed Urbina on 6-29-15 and
     5      with Josefina Rendon on 10-1-15. There was no placement on 7-21-2015.
     6   128. Specifically, on 9-7-15, Urbina was the care giver who signed for B.A.'s
     7      medical treatment with Dean Ferdows, M.D. 4316 E. Slauson Ave, Maywood,
     8      Cal. 323)773-2020.
     9   129. On 9/25/15, Urbina signed for B.A.'s treatment with Dr. Foster as the
    10      authorized care giver with whom B.A. resided during the time period Defendants
    11      repeatedly misrepresented to the court in numerous documents, in contact logs,
    12      and in forged placement agreements that Rendon was B.A' s foster mother.
    13   130. On "9-31-15", Defendant CSW Escobedo forged Rendon's signature for a
    14      second time on a "Foster Parent Needs and Services Summary" purportedly
    15      signed and dated by Josefina Rendon. The date that both Rendon and Defendant
    16      purportedly signed this document does not exist. There are only 30 days in
    17      September. Josefina did not sign nor date this document. Notably, Defendant
    18      CSW Escobedo correctly checked the "Replacement" box at the top of the
    19      Summary consistent with the true facts that Defendant Escobedo did replace B.A.
    20      with Rendon from Urbina on 10-1-15, not 7-21-15, as misrepresented to the court
    21      repeatedly.
    22   131. B.A. remained with Urbina until 10-1-15 when he was placed with family
    23      friend, Josefina Rendon. Rendon's three adult children, as well as her neighbors,
    24      friends, and relatives, have personal knowledge that B.A. was not placed with
    25      Rendon until 10-1-15 as opposed to 7-21- 2015. In addition, Urbina transported
    26      B.A. to medical and dental appointments until 9-25-15. Medical records of Dr.
    27      Foster and Dr. Ferdows document that B.A. was placed with Urbina through 9-
    28      23-15.

                                                  - 30-
                                                          First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 31 of 54 Page ID #:244



     1   132. B.A. remained with Rendon until removed on 10-11-16 based on allegations
     2      falsified by Defendant CSWs that Rendon allowed B.A. to reside with Karla and
     3      Alfredo for three months in violation of court orders thereby putting B.A. at
     4      serious risk of physical harm.
     5   133. On 10-14-16, Defendant CSW Evita Salas and Defendant SCSW Antonia
     6      Lopez filed a perjured detention report that swore they interviewed Rendon at her
     7      home; that Rendon stated B.A. had resided with Karla and his father for the past
     8      three months; that they walked with Rendon to Karla's house where they found
     9      B.A. alone with Karla; that Karla and Alfredo failed to address domestic violence.
    10   134. On 10-14-2016, CSW Jimenez filed a perjured petition that Rendon failed to
    11      comply with the court order in that she allowed Karla and Alfredo to have
    12      unlimited and unmonitored contact with B.A., that Rendon's failure endangers
    13      Bryan's physical health and safety, and places B.A. at risk of serious physical
    14      harm, damage and danger.
    15   135. The true facts are that Rendon complied with all court orders. B.A., did not
    16      reside with his parents based on dozens of eye witnesses. The Defendant CSW did
    17      not interview Rendon because she was not at her home. Rendon and B.A. were at
    18      Karla's for dinner on a supervised visit.
    19   136. B.A. was interviewed by Defendant and stated that he did not live with his
    20      mother. Rendon's adult children, relatives, and neighbors and children
    21      corroborated that B.A was living with Rendon when he was removed, not Karla
    22      nor did B.A. have unmonitored visits with Karla or Alfredo.
    23   137. On 10-14-16, Defendant CSW Jimenez filed a WIC 387 petition under penalty
    24      of perjury that swore Rendon failed to comply with the court order in that she
    25      allowed Karla and Alfredo to have unlimited and unmonitored contact with B.A.
    26      in violation of the court order that endangers B.A.'s physical health and safety,
    27      and places Bryan at risk of serious physical harm, damage and danger. This is
    28      false.

                                                   - 31-
                                                           First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 32 of 54 Page ID #:245



     1   138. On 11-30-16, Defendant CSW Gloria Mejia, Defendant SCSW Stephanie
     2      Morales, and Defendant SCSW Laura Luna filed a false jurisdiction/disposition
     3      report. Defendants misrepresented on page 10, that Josefina Rendon allowed
     4      Karla and Alfredo to have unmonitored access to B.A. in violation of court orders.
     5      On page 11, Defendants stated that B.A. said he never had unmonitored contact
     6      with his parents and did not live with them. On page 12, Defendants
     7      misrepresented that Karla admitted to having unmonitored contact with B.A. On
     8      page 16, Defendants reported that on 7-8-2015, B.A. was referred to DMH
     9      Specialized Foster Care Program, that on 7-30-15, B.A. was "successfully linked
    10      to San Antonio Mental Health Clinic located at 2629 Clarendon Ave., 2nd Floor.
    11      Huntington Park, CA 90255; 323-584-3700, that on 8- 13-1\216 (sic) an initial
    12      intake and assessment was completed for B.A. by Nancy Angeles-Lopez, LCSW,
    13      Psychiatric Social Worker. Based on the assessment B.A. was reported he
    14      presented with no symptoms or behavioral issues and did not meet medical
    15      necessity."
    16   139. Thereafter, DCFS placed B.A. in a series of foster homes where he was
    17      abused, neglected, starved, and forced by his social worker and foster mother, to
    18      take adult psychotropic meds without a court order or food would be withheld. In
    19      2016, B.A. went AWOL repeatedly to escape severe abuse and neglect. He
    20      threatened to remain AWOL unless and until he was released to his mother where
    21      he was safe, never abused or neglected.
    22   140. In May 2017, Karla filed a WIC 388 petition requesting the court to reinstate
    23      family reunification for B.A. and to order B.A. 's release to her custody.
    24      Defendant CSWs informed the court that DCFS would approve said petition to
    25      reunify B.A. and his mother.
    26   141. On 6-15-17, Defendant Gloria Mejia and Defendant SCSW Irma Silva filed a
    27      WIC 366.26 report. On page 6, Defendants stated, "[S]ince 08/18/2005, Bryan has
    28      had five placements in which he was replaced four times on

                                                  - 32-
                                                          First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 33 of 54 Page ID #:246



     1      06/29/20015,07/2112015, 10/1112016 and 10118/2016 .... On 07/21115 B.A was
     2      placed in the Non Relative home of caregiver Josefina Rendon ... ". This is
     3      falsified evidence. B.A. was placed with unlicensed Urbina on 6-29-15; there was'
     4      no placement on 7-21-2015, B.A. was placed with Josefina Rendon on 10-1-15.
     5   142. On page 7 of the WIC 366.26 report, Defendant Gloria Mejia and Defendant
     6      SCSW Irma Silva stated that, "At this time mother has filed a 388 petition to
     7      reinstate FR services ... Due to mother's compliance with court orders and case
     8      plan, DCFS will approve the request .... Due to mother's compliance, DCFS used
     9      discretion to liberalize visits. Mother has been picking up B.A. on Friday and
    10      returning him to his placement on Sundays. Visits have gone with no incident.
    11      Child reports to being happy with his mother ... On May 10, 2017, mother filed a
    12      388 petition to reinstate FR services. DCFS has requested to advance and vacate
    13      this court hearing to allow child to return home of parent-mother."
    14   143. B.A. was released to Karla's care on 10-9-2-17. Jurisdiction terminated on
    15      October 12, 2017.
    16   144. There is no record of any contact or supervision with B.A. other than during
    17      the investigation of the domestic violence with Urbina and her son by CSW
    18      Russell who interviewed B.A. in the Urbina home on 7-21-15. More than twelve
    19      CSWs created a seamless web of deception to conceal/cover up B.A.'s placement
    20      for three months in the unlicensed home of violent Urbina.
    21
    22                               FIRST CLAIM FOR RELIEF

    23                       42 U.S.C. § 1983 – FOURTH AMENDMENT

    24         (By Minor Plaintiff B.A. against COUNTY OF LOS ANGELES, DCFS,

    25      RUBEN JIMENEZ, MELISSA RAMIREZ, LYDIA BUENO, ALEXANDRA

    26        RONCES, GLADYS ESCOBEDO, EVITA SALAS, ANTONIA LOPEZ,

    27       RACHEL SIMONS, GLORIA MEJIA, STEPHANIE MORALES, LAURA

    28                      LUNA, SANDRA JIMENEZ, and DOES 1- 10)


                                                 - 33-
                                                         First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 34 of 54 Page ID #:247



     1   145. Plaintiffs repeat, re-allege and incorporate all paragraphs, as though fully set
     2      forth herein.
     3   146. Defendant County's and Defendant DCFS' s standard operating procedure to
     4      use perjury to detain and traffic children into foster care in violation of civil
     5      rights, Penal Code §§ 115, 118, and 8 U.S.C. §1621, for federal foster care funds
     6      under Title IV E of the Social Security Act, is so widespread, a practice so
     7      permanent and well settled as to constitute a custom or usage with the force of law
     8      inferred from the following facts: (1) enactment of Government Code § 820.21 in
     9      1995 to remove social worker immunity for perjury and cover up based on
    10      Legislative findings of widespread perjury, cover-up and coercion, statewide,
    11      including Defendant County; (2) numerous tort claims, complaints, and civil
    12      lawsuits against Defendant County and Defendant DCFS based on perjury and
    13      cover-up since 1995 and enactment of § 820.21 and; (3) hundreds of parents who
    14      will attest to the use of perjury and cover up by Defendant County and Defendant
    15      CSD to secure removal of their children.
    16   147. Defendant Ramirez and Defendant Bueno seized B.A. from Plaintiffs custody
    17      based on substance abuse that Defendants knew was false. Defendant Ramirez
    18      and Defendant Bueno falsified SDM Assessments in violation of MPP 31-001,
    19      31-135, and Penal Code § 115 to maintain custody of minor Plaintiff B.A. for
    20      federal foster care funds. Defendants were driven by Defendant DCFS' aforesaid
    21      standard operating procedure to deprive/violate Fourth Amendment rights to
    22      obtain federal foster care funds by committing perjury.
    23   148. Defendant Ramirez and Defendant Bueno also falsified the Detention Report,
    24      the Addendum, and the SDM Assessments, to continue to deprive/violate Plaintiff
    25      B.A. 's constitutional rights under the Fourth Amendment, as well as those rights
    26      under applicable California law rising to the level of a constitutionally protected
    27      right.
    28

                                                    - 34-
                                                            First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 35 of 54 Page ID #:248



     1   149. It should have been apparent to a reasonable CSW that no circumstances
     2      existed to seize and detain B.A. lawfully by the use of perjury that would deprive
     3      B.A. of his Fourth Amendment rights. Defendant Ramirez and Defendant Bueno
     4      followed Defendant DCFS' standard operating procedure and seized B.A.
     5      deliberately, intentionally, and with reckless or callous indifference to B.A. 's
     6      rights and safety, thereby justifying the awarding of punitive damages only in an
     7      amount commensurate with the nature of the Defendant's wrongful conduct and
     8      the amount of Defendant's wealth.
     9   150. As a direct and proximate result of Defendant Ramirez' and Defendant Bueno's
    10      intentional, malicious, oppressive, deprivation/violation of Minor Plaintiffs Fourth
    11      Amendment rights, Minor Plaintiff suffered, and will continue to suffer physical,
    12      mental, and emotional injury, all to an extent and in an amount subject to proof at
    13      trial. Minor Plaintiff has also incurred and will continue to incur, attorneys fees,
    14      costs and expenses, including those authorized by 42 U.S.C. Section 1988, to an
    15      extent and in an amount subject to proof at trial.
    16   151. Plaintiffs specifically allege that Defendant County’s employees’ actions,
    17      customs, and/or practices, as described herein, were within the control of
    18      Defendant County and within the feasibility of Defendant County, to alter, adjust,
    19      and/or correct so as to prevent some or all of the unlawful acts and injury
    20      complained of herein by Plaintiffs.
    21                              SECOND CLAIM FOR RELIEF
    22                VIOLATION OF CIVIL RIGHTS 42 U.S.C. §§ 1983, 1988
    23                                        CONSPIRACY
    24          (By ALL PLAINTIFFS against ALL INDIVIDUAL DEFENDANTS)
    25   152. Plaintiffs repeat, re-allege and incorporate all paragraphs, as though fully set
    26      forth herein.
    27   153. Individually named defendants and Does, and each of them, acted as described
    28      herein above, in conspiracy with, and with the agreement, permission, ratification,

                                                   - 35-
                                                           First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 36 of 54 Page ID #:249



     1      and approval of, each other to violate each Plaintiffs’ civil rights afforded under
     2      the United States Constitution.
     3   154. Plaintiffs are informed, believe and allege that defendants all communicated,
     4      collaborated and planned to work in concert to take the actions complained of
     5      herein and achieve the objective of causing the violations of civil rights
     6      complained of herein. Without the such planning, agreement and joint action,
     7      some or all of the violations of rights would not have occurred.
     8   155. Neither defendant ever once intervened to stop any other from violating
     9      Plaintiffs’ legal rights.
    10
    11                                   THIRD CLAIM FOR RELIEF
    12                      VIOLATION OF CIVIL RIGHTS 42 U.S.C. § 1983
    13                            MUNICIPAL LIABILITY (MONELL)
    14       (By ALL PLAINTIFFS against COUNTY OF LOS ANGELES AND DCFS)
    15   156. Plaintiffs repeat, re-allege and incorporate all paragraphs, as though fully set
    16      forth herein.
    17   157. Defendants County and DCFS violated Plaintiffs’ constitutional rights, as
    18      alleged supra, by creating and maintaining the following unconstitutional customs
    19      and practices, inter alia:
    20        i.   Defendant County's and Defendant DCFS' standard operating procedure to
    21             use perjury to detain and traffic children into foster care in violation of their
    22             civil rights, Penal Code §§ 115, 118, and 8 US.C. §1621 for federal foster
    23             care funds under Title IV E of the Social Security Act, is so widespread a
    24             practice so permanent and well settled as to constitute a custom or usage
    25             with the force of law;
    26       ii.   Defendant County's and Defendant DCFS' maintaining a policy of
    27             detaining and/or removing well cared for children from parental custody
    28

                                                    - 36-
                                                            First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 37 of 54 Page ID #:250



     1             based on falsified declarations and falsified SDM Assessments in violation
     2             of MPP 31-001, 31-135, and Penal Code section 118;
     3      iii.   Defendant County's and Defendant DCFS' maintaining a policy of
     4             removing and detaining well cared for children from their parents and not
     5             returning them beyond a reasonable period after the basis for detention is
     6             negated;
     7      iv.    Defendant County's and Defendant DCFS' failing to train, supervise and
     8             discipline its officers, agents, employees, and state actors, regarding
     9             providing and/or failing to provide the Constitutional protections
    10             guaranteed to individuals, including those under the Fourth and Fourteenth
    11             Amendments when performing actions related to child abuse and
    12             dependency proceedings.
    13       v.    According to the 1995 Legislative Digest, Defendant County and
    14             Defendant DCFS social worker perjury has been a defining issue in
    15             dependency court proceedings statewide for over twenty (20) years. In
    16             1995, the Legislature held statewide hearings leading to enactment of
    17             Government Code Section 820.21 to curb the use of perjury and false
    18             evidence by removing immunity from civil liability allowing parents and
    19             children to hold social workers accountable. The Legislature documented
    20             numerous complaints of widespread use of perjury in dependency court
    21             proceedings by social workers. The Legislature also documented that the
    22             majority of the parents on advice of counsel, pled no contest to perjured
    23             child abuse allegations leaving the perjury unchecked and rubber-stamped
    24             by "unwitting" hearing officers. The Legislature further found hearing
    25             officers ordered well cared for children into foster care based on unchecked
    26             perjury without a trial.
    27   158. Despite Defendant County's awareness of its practice of the use of perjury
    28      since at least 1995 with the enactment of Gov 't Code section 820.21 and

                                                   - 37-
                                                           First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 38 of 54 Page ID #:251



     1      continuing thereafter based on the millions of dollars paid to children and parents
     2      in civil judgments, that it needed to address these issues and properly train its
     3      employees, Defendant County and its employees continue to engage in the
     4      permanent, widespread, and settled custom of perjured declarations, perjured
     5      petitions, perjured detention reports, false jurisdiction/disposition reports, and
     6      false evidence, which led to the deprivation of Plaintiffs' constitutional rights.
     7   159. Defendant County and Defendant DCFS, owed duties to Plaintiffs at all times
     8      to establish, implement and follow policies, procedures, customs, and/or practices
     9      which confirm and provide for the protections guaranteed under the United States
    10      Constitution, including the Fourth and Fourteenth Amendments; to use reasonable
    11      care to select, supervise, train, control, and review the activities of all of their
    12      agents, officers, employees and those acting under them, including with DCFS;
    13      and further, to refrain from acting with deliberate indifference to the
    14      Constitutional rights of Plaintiffs herein so as to not to cause them the injuries and
    15      damages alleged herein.
    16   160. Plaintiffs specifically allege that Defendant County’s policies, customs, and/or
    17      practices, as described herein, were within the control of Defendant County and
    18      within the feasibility of Defendant County, to alter, adjust, and/or correct so as to
    19      prevent some or all of the unlawful acts and injury complained of herein by
    20      Plaintiffs.
    21
    22                               FOURTH CLAIM FOR RELIEF
    23                      VIOLATION OF CIVIL RIGHTS 42 U.S.C. § 1983
    24                                     FIRST AMENDMENT
    25            (By PLAINTIFF ALFREDO ARANDA against COUNTY OF LOS
    26                       ANGELES, DCFS, PACHECO and ESPINOZA)
    27   161. Plaintiffs repeat, re-allege and incorporate all paragraphs, as though fully set
    28      forth herein.

                                                    - 38-
                                                            First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 39 of 54 Page ID #:252



     1   162. The First Amendment guarantees Plaintiffs freedom of speech and expression
     2      permitting Plaintiff to, inter alia, freely and lawfully express opinions or ideas.
     3      This expression may be accomplished verbally, demonstratively, and/or
     4      symbolically.
     5   163. Some or all of the acts complained of herein were retaliatory and directed
     6      toward Plaintiff Alfredo Aranda because of his statements, including filing
     7      complaints about, and criticizing, the Defendant officers' conduct. Defendants
     8      chilled and deterred such expression by performing and threatening the conduct
     9      complained of herein.
    10   164. Officer defendants and each of them, acted deliberately and with malice and
    11      oppression to intimidate and/or silence Plaintiff.
    12                                FIFTH CLAIM FOR RELIEF
    13                      VIOLATION OF CIVIL RIGHTS 42 U.S.C. § 1983
    14                               FOURTEENTH AMENDMENT
    15              (By ALL PLAINTIFFS against ALL DEFENDANTS and DOES)
    16   165. Plaintiffs repeat, re-allege and incorporate all paragraphs, as though fully set
    17      forth herein.
    18   166. On 6-15-15, Defendant CSW Melissa Ramirez filed a false Request for
    19      Removal Order. Defendant swore there was probable cause to believe that
    20      continuance in the home of the parents is contrary to B.A.' s welfare, when there
    21      was no cause.
    22   167. On 6-18-2015, Defendant CSW Melissa Ramirez and Defendant SCSW Lydia
    23      Bueno, seized B.A. from Karla's custody based on the 6-3-2015 falsified police
    24      report that drugs were found in Karla's bathroom and that Alfredo lived in the
    25      home.
    26   168. It should have been apparent to Defendant CSW Melissa Ramirez and
    27      Defendant SCSW Lydia Bueno that deliberate falsification of evidence in a child
    28      abuse investigation violated Plaintiff's B.A.'s constitutional rights resulting in

                                                   - 39-
                                                           First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 40 of 54 Page ID #:253



     1      deprivation of Plaintiffs Fourth Amendment rights against unreasonable seizure
     2      and B.A.'s, Karla's, and Alfredo's Fourteenth Amendment rights not to be
     3      separated without due process of law except in emergencies Mabe v. San
     4      Bernardino Cnty., Dep't of Pub. Soc. Servs., 237 F.Ed 1101,1107 (9th Cir. 2001)
     5      (citing Stanley v. Illinois, 405 U.S. 645, 651, 93 S. T.1208).
     6   169. Defendants knew or should have known that Plaintiffs had familial relationships
     7      that their actions would impair.
     8   170. Defendants’ acts and/or omissions as alleged in throughout this entire complaint
     9      constituted interference with and/or deprivation of Plaintiffs’ familial relationships
    10      and/or association and were thus violations of Plaintiffs’ Fourteenth Amendment
    11      Rights to Due Process of Law.
    12   171. Further, Defendant CSW Melissa Ramirez and Defendant SCSW Lydia Bueno
    13      acted with knowledge that Plaintiffs would and did suffer immediate and serious
    14      trauma from forced separation, physical, mental and emotional distress, and acted
    15      deliberately, intentionally, and with reckless or callous indifference to Plaintiffs'
    16      fundamental protected rights under the Fourteenth Amendment to the U. S.
    17      Constitution. Defendants' conduct was intentional outrageous, oppressive,
    18      malicious and justifies the awarding of punitive damages.
    19   172. On 6-23-2015, Defendant CSW Melissa Ramirez and Defendant SCSW Lydia
    20      Bueno filed a perjured detention report that "[t]he family is not an intact family as
    21      it consists of mother Karla Garcia (26) and her son B.A. (sic) Aranda (12).
    22      Mother and father are not together. Father Alfredo Aranda (40) has monitored
    23      visits with the child B.A."
    24   173. Defendant CSW Melissa Ramirez and Defendant SCSW Lydia Bueno
    25      fabricated evidence in the detention report of drugs found in Karla's bathroom
    26      which they knew was false.
    27   174. It should have been apparent to Defendant CSW Melissa Ramirez and
    28      Defendant SCSW Lydia Bueno that deliberate falsification of the detention report

                                                   - 40-
                                                           First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 41 of 54 Page ID #:254



     1      violated Plaintiffs' Fourteenth Amendment rights. No reasonable social worker
     2      would believe that circumstances existed to file a perjured detention report.
     3   175. Defendant CSW Melissa Ramirez and Defendant SCSW Lydia Bueno acted
     4      with knowledge that Plaintiffs would and did suffer immediate and serious trauma
     5      from forced separation, physical, mental and emotional distress, and acted
     6      deliberately, intentionally, and with reckless or callous indifference to Plaintiffs'
     7      fundamental protected rights under the Fourteenth Amendment to the U. S.
     8      Constitution. Defendants' outrageous conduct justifies the awarding of punitive
     9      damages only in an amount commensurate with the nature of the Defendant's
    10      wrongful conduct and the amount of Defendant's wealth and exemplary damages
    11      in an amount to be determined at time of trial.
    12   176. On 6-23-2015, Defendant CSW Ronces filed a perjured Welf & Inst Code
    13      section 300 petition that directly and materially contradicted the detention report
    14      filed the same day by Defendant CSW Melissa Ramirez and Defendant SCSW
    15      Lydia Bueno. In the WIC 300 petition, Defendant Ronces swore Karla and
    16      Alfredo resided in the home in violation of court orders and Karla thereby created
    17      substantial risk of serious physical harm. The true facts are set forth in the
    18      detention report, "[t ]he family is not an intact family as it consists of mother
    19      Karla Garcia (26) and her son B.A. (sic) Aranda (12). Mother and father are not
    20      together. Father Alfredo Aranda (40) has monitored visits with the child B.A."
    21   177. It should have been apparent to Defendant CSW Ronces that deliberate
    22      falsification of the WIC 300 petition violated Plaintiffs' Fourteenth Amendment
    23      rights. No reasonable social worker would believe that circumstances existed to
    24      file a perjured WIC 300 petition in dependency court.
    25   178. Defendant CSW Ruben Jimenez and Defendant SCSW Rachel Simon filed a'
    26      falsified Jurisdiction/Disposition report on 8-20-2015 to maintain custody of
    27      minor Plaintiff B.A. for federal foster care funds.
    28

                                                   - 41-
                                                           First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 42 of 54 Page ID #:255



     1   179. It should have been apparent to Defendant CSW Ruben Jimenez and
     2      Defendant SCSW Rachel Simon that deliberate falsification of the
     3      Jurisdiction/Disposition report violated Plaintiffs' Fourteenth Amendment rights.
     4      No reasonable social worker would believe that circumstances existed to file a
     5      falsified Jurisdiction/Disposition report in dependency court.
     6   180. Defendant Evita Salas and Defendant SCSW Antonia Lopez filed a false status
     7      report and a perjured detention report to maintain custody of minor Plaintiff B.C.
     8      for federal foster care funds on 8-19-2015.
     9   181. It should have been apparent to Defendant Evita Salas and Defendant SCSW
    10      Antonia Lopez that deliberate falsification of a status review report violated
    11      Plaintiffs' Fourteenth Amendment rights. No reasonable social worker would
    12      believe that circumstances existed to file a false status review report in
    13      dependency court.
    14   182. On 10-14-2016. Defendant Evita Salas and Defendant SCSW Antonia Lopez
    15      filed a perjured detention report removing B.A. from Josefina Rendon's custody.
    16   183. It should have been apparent to Defendant Evita Salas and Defendant SCSW
    17      Antonia Lopez that a perjured detention report violated Plaintiffs' Fourteenth
    18      Amendment rights. No reasonable social worker would believe that circumstances
    19      existed to file a perjured detention report in dependency court.
    20   184. On 11-30-2016, Defendant CSW Gloria Mejia, Defendant SCSW Stephanie
    21      Morales and Defendant Laura Luna filed a falsified jurisdiction /disposition report
    22      to maintain custody of minor Plaintiff B.A. for federal foster care funds.
    23   185. It should have been apparent to Defendant CSW Gloria Mejia, Defendant
    24      SCSW Stephanie Morales, and Defendant Laura Luna that deliberate falsification
    25      of the jurisdiction /disposition report violated Plaintiffs' Fourteenth Amendment
    26      rights driven by Defendant County’s and Defendant DCFS's aforesaid long
    27      standing official policies and practices. No reasonable social worker would
    28

                                                   - 42-
                                                           First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 43 of 54 Page ID #:256



     1      believe that circumstances existed to file a falsified jurisdiction /disposition report
     2      in dependency court.
     3   186. Defendant CSW Gloria Mejia's, Defendant SCSW Stephanie Morales', and
     4      Defendant Laura Luna's execution of Defendant County's and Defendant DCFS's
     5      aforesaid official policies and practices caused deprived/violated of Plaintiffs'
     6      fundamental rights to family privacy protected by the First and Fourteenth
     7      Amendments to the U.S. Constitution.
     8   187. Additionally, as alleged with particularity herein, Defendants filed a perjured
     9      application for a protective custody warrant, falsified SDM Assessments, falsified
    10      petitions and detention reports, status review reports, falsified contact logs, and
    11      repeated forgery.
    12   188. It should have been apparent to a reasonable CSW that the use of perjury and
    13      deception in dependency proceedings in violation of MPP 31-001, 31-135, and
    14      Penal Code § 115, that led to B.A.'s two year forced separation, would have
    15      deprived Plaintiffs of due process rights to be free from deception dependency
    16      proceedings.
    17   189. Moreover, procedurally, on every occasion upon which the reauthorization
    18      and/or reapproval of the requirement that B.A. not be allowed to return home to his
    19      parents, a separate and additional violation of due process occurred.
    20   190. As a direct, legal and proximate result of Defendants’ aforementioned
    21      intentional, malicious, and oppressive conduct, Plaintiffs have suffered and
    22      continue to suffer great emotional pain and injury, as well as loss of comfort, society
    23      and support all in an amount to be determined according to proof at trial.
    24   191. Plaintiffs specifically allege that Defendants’ complained of acts and/or
    25      omissions, were within each of their control, and within the feasibility of each of
    26      them, to alter, adjust, and/or correct so as to prevent some or all of the unlawful acts
    27      and injury complained of herein by Plaintiffs.
    28   192.

                                                   - 43-
                                                           First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 44 of 54 Page ID #:257



     1                                SIXTH CLAIM FOR RELIEF
     2                                        NEGLIGENCE
     3            (By PLAINTIFF B.A. against ALL DEFENDANTS and DOES 1-10)
     4   193. Plaintiffs repeat, re-allege and incorporate all paragraphs, as though fully set
     5      forth herein.
     6   194. This claim is brought pursuant to California state law.
     7   195. Each of plaintiffs’ state law claims arise from the same nucleus of operative fact
     8      as the claims in this Complaint based upon federal law and all the claims are so
     9      closely related that this Court may properly exercise its Supplemental Jurisdiction
    10      over the state law claims.
    11   196. Defendants, and each of them, owed Plaintiff B.A. a duty of reasonable care to
    12      avoid exposing him to reasonably foreseeable risks of harm or injury by acting
    13      reasonably under the circumstances complained of in this Complaint.
    14   197. Defendants, and each of them, breached their duty of reasonable care during the
    15      incidents complained of in this Complaint, by failing to act reasonably under the
    16      circumstances.
    17   198. As a direct, legal and proximate result of the aforementioned conduct, Plaintiff
    18      has suffered and continues to suffer great emotional pain and injury, as well as loss
    19      of comfort, society and support all in an amount to be determined according to proof
    20      at trial.
    21   199. As to each state law claim herein, Plaintiffs specifically allege that Defendants’
    22      complained of acts and/or omissions, were within each of their control, and within
    23      the feasibility of each of them, to alter, adjust, and/or correct so as to prevent some
    24      or all of the unlawful acts and injury complained of herein by Plaintiffs.
    25   200. As to each state law claim herein, Defendant County is liable to Plaintiffs for
    26      the acts of its public employees, for conduct and/or omissions herein alleged,
    27      pursuant to the doctrine of Respondeat Superior, codified at California Government
    28      Code § 815.2.

                                                   - 44-
                                                           First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 45 of 54 Page ID #:258



     1                             SEVENTH CLAIM FOR RELIEF
     2      NEGLIGENCE PER SE: VIOLATION OF CALIFORNIA DEPARTMENT
     3         OF SOCIAL SERVICES MANUAL OF POLICY AND PROCEDURE
     4          DIVISION 31-001,31-135,31-320.3,31-330,31-401.5, & CALIFORNIA
     5             STRUCTURED DECISION MAKING 3.0 SAFETY AND RISK
     6                                       ASSESSMENTS
     7         (By Minor Plaintiff B.A. against COUNTY OF LOS ANGELES, DCFS,
     8      RUBEN JIMENEZ, MELISSA RAMIREZ, LYDIA BUENO, ALEXANDRA
     9         RONCES, GLADYS ESCOBEDO, EVITA SALAS, ANTONIA LOPEZ,
    10       RACHEL SIMONS, GLORIA MEJIA, STEPHANIE MORALES, LAURA
    11                       LUNA, SANDRA JIMENEZ, and DOES 1-10)
    12   201. Plaintiffs repeat, re-allege and incorporate all paragraphs, as though fully set
    13      forth herein.
    14   202. By its express provisions, California Department of Social Services (CDSS)
    15      Manual of Policies and Procedures, (MPP) Division 31 CHILD WELFARE
    16      SERVICES PROGRAM, CHAPTER 31-000 GENERAL REQUIREMENTS,
    17      imposes mandatory statutory duties on Defendant County, Defendant CDS, and
    18      Defendant social workers, as follows: GENERAL 31-001 provides in pertinent
    19      part: ".1 The requirements specified in Sections 31-005 through 31-525 shall be
    20      met by the county in the administration of child welfare services."
    21   203. The CDSS Manual of Policies and Procedures (MPP) Division 31-135,
    22      imposed mandatory statutory duties on Defendant County, Defendant CDS, and
    23      Defendant social workers to "ensure" that "authority" to remove B.A. exists
    24      prior to removal as follows: "When a social worker determines that the child
    25      cannot be safely maintained in his/her own home, the social worker must ensure
    26      that authority to remove a child exists prior to removal".
    27   204. The clear Legislative intent of MPP Division 31-135 to "ensure that authority"
    28      exists prior to removal is to prevent the unnecessary removal to protect the

                                                  - 45-
                                                          First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 46 of 54 Page ID #:259



     1     fundamental liberty interests in maintaining the parent-child relationship and
     2     fundamental independent liberty interest to be part of a family unit.
     3   205. MPP Division 31-320.2 imposed mandatory statutory duties on Defendant
     4     County, Defendant DCFS, and Defendant social workers, to visit the child three
     5     times during the first 30 days in foster care to ensure safety and fundamental
     6     liberty interests.
     7   206. MPP Division 31-320.3 imposed mandatory statutory duties on Defendant
     8     County, Defendant DCFS, and Defendant social workers, to visit the child
     9     monthly in foster care to ensure safety and fundamental liberty interests.
    10   207. MPP Division 31-330 imposed mandatory statutory duties on Defendant
    11     County, Defendant DCFS, and Defendant social workers, to have monthly
    12     contacts with the care provider, to ensure the safety and fundamental liberty
    13     interests of foster children are protected.
    14   208. MPP Division 31-401.5 imposed mandatory statutory duties on Defendant
    15     County, Defendant DCFS, and Defendant social workers, to place children in an
    16     appropriate licensed or approved facility to ensure the safety and fundamental
    17     liberty interests of foster children are protected.
    18   209. MPP Division 31-410. 52 imposed mandatory statutory duties on Defendant
    19     County, Defendant DCFS, and Defendant social workers, to temporarily place
    20     children in an appropriate licensed or approved facility to ensure the safety and
    21     fundamental liberty interests of foster children are protected.
    22   210. The CDSS Structured Decision Making System (SDM), Policy and Procedures
    23     Manual SDM 3.0 October 2015, imposed mandatory duties on Defendant social
    24     workers to complete the SDM Safety and Risk Assessments on each referral and
    25     in that process, only mark conduct as a risk if the information reaches the
    26     definition for an item set forth in the SDM Definitions as follows: "Step II
    27     APPROPRIATENESS OF A CHILD ABUSEINEGLECT REPORT FOR
    28     RESPONSE. A. Screening Criteria, "Based on the caller's concerns, mark all

                                                   - 46-
                                                           First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 47 of 54 Page ID #:260



     1      criteria that apply. Do not mark items if the caller's information does not reach the
     2      definition for an item." (emphasis added, Policy and Procedures Manual SDM
     3      3.0, p. 30).
     4   211. In this case, the information concerning "domestic violence" and "substance
     5      abuse" did not meet the definition of a safety threat/risk as defined in the SDM
     6      Hotline Definitions, SDM Safety Assessment Definitions, or SDM Risk
     7      Assessments. That said, Defendants falsified the SDM Safety and Risk
     8      Assessments to manufacture a risk as "authority" to remove B.A. in blatant
     9      violation of mandatory statutory duties imposed by MPP 31-001 and 31-135.
    10   212. Minor Plaintiff B.A. is within the class to be protected from seizure without
    11      "authority" in violation of MPP 31-001, 31-135 and suffered the kind of injury
    12      MPP 31-001, 31- 135, were enacted to prevent: removal from parental custody
    13      from 6-29-2015 to 10-9-2017 without "authority" under Section 31-135 as defined
    14      in the statutory SDM Definitions.
    15   213. DCFS placed Minor Plaintiff B.A. in an unlicensed facility from 6-29-2015,to
    16      10-1-2015 unsupervised, in violation of mandatory duties imposed by MPP
    17      Division 31-320.2, MPP Division 31-320.3, MPP Division 31-330, MPP Division
    18      31-401.5, MPP Division 31-410.52.
    19   214. Minor Plaintiff B.A. is within the class to be protected from illegal placement
    20      in (an unlicensed facility in violation of 31-41 0.5 and 31-410.52 and suffered the
    21      kind of injuries 31- 410.5 and 31-410.52 were enacted to prevent: placement with
    22      an unlicensed caregiver.
    23   215. Minor Plaintiff B.A. is within the class to be protected from lack of visits and
    24      supervision the first month and monthly visits thereafter, and suffered the kind of
    25      injuries MPP Division 31-320.2, MPP Division 31-320.3, MPP Division 31-330,
    26      were enacted to prevent: placement with an unlicensed caregiver.
    27   216. As a direct and proximate result of Defendants' violation of mandatory duties
    28      imposed by MPP 31-001 and 3-135, MPP Division 31-320.2, MPP Division 31-

                                                  - 47-
                                                          First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 48 of 54 Page ID #:261



     1      320.3, MPP Division 31-330, 31-410.5 and 31-410.52, Minor Plaintiff, B.A.
     2      suffered forced separation for two years, and will continue to suffer physical!,
     3      mental, and emotional injury, all to an extent and in an amount subject to proof at
     4      trial. Defendant County and its entity DCFS are vicariously responsible under
     5      Government Code Section 815.21 and other applicable statutory and case law.
     6                              EIGHTH CLAIM FOR RELIEF
     7            INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
     8   (By Minor Plaintiff B.A. against COUNTY OF LOS ANGELES, DCFS, RUBEN
     9   JIMENEZ, MELISSA RAMIREZ, LYDIA BUENO, ALEXANDRA RONCES,
    10       GLADYS ESCOBEDO, EVITA SALAS, ANTONIA LOPEZ, RACHEL
    11       SIMONS, GLORIA MEJIA, STEPHANIE MORALES, LAURA LUNA,
    12                         SANDRA JIMENEZ, and DOES 1-10)
    13   217. Plaintiffs repeat, re-allege and incorporate all paragraphs, as though fully set
    14      forth herein.
    15   218. Defendant Ramirez and Defendant Bueno seized B.A. from Plaintiff's custody
    16      based on a falsified "substance abuse" that Defendants knew was false. Defendant
    17      Ramirez and Defendant Bueno falsified SDM Assessments in violation of MPP
    18      31-001,31-135, and Penal Code § 115 to maintain custody of minor Plaintiff B.A.
    19      for federal foster care funds. Defendant Lara placed B.A. with unlicensed Urbina
    20      where he was not visited by DCFS, or supervised, for more than three months in
    21      violation of MPP Division 31-320.2, MPP Division 31-320.3, MPP Division 31-
    22      330, 31-410.5 and 31-410.52. Defendants Ramirez and Defendant Bueno also
    23      filed a perjured detention report to maintain custody of minor Plaintiff B.A. for
    24      federal foster care funds. Defendant Ronces filed a perjured WIC 300 (b) petition
    25      to maintain custody of minor Plaintiff B.A. for federal foster care funds.
    26      Defendant CSW Ruben Jimenez and Defendant SCSW Rachel Simon filed a
    27      falsified Jurisdiction/Disposition report to maintain custody of minor Plaintiff
    28      B.A. for federal foster care funds. Defendant Evita Salas and Defendant SCSW

                                                  - 48-
                                                          First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 49 of 54 Page ID #:262



     1     Antonia Lopez filed a falsified status review report on 8-19-2015. Defendant
     2     Evita Salas and Defendant SCSW Antonia Lopez seized B.A. from Rendon on
     3     10-14-2016. Defendant Evita Salas and Defendant SCSW Antonia Lopez filed a
     4     perjured detention report when they removed B.A. from Josefina Rendon.
     5     Defendant Jimenez filed a perjured WIC 387 petition against Rendon. On 11-30-
     6     2016, Defendant CSW Gloria Mejia, Defendant SCSW Stephanie Morales and
     7     Defendant Laura Luna filed a falsified jurisdiction /disposition report to maintain
     8     custody of minor Plaintiff B.A. for federal foster care funds.
     9   219. Defendant Jimenez, Defendant Ramirez, Defendant Bueno, Defendant
    10     Alexandra Ronces, Defendant Gladys Escobedo, Defendant Evita Salas,
    11     Defendant Antonia Lopez, Defendant Rachel Simons, Defendant Gloria Mejia,
    12     Defendant Stephanie Morales, Defendant Laura Luna, and Defendant Sandra
    13     Jimenez knew there was no immunity for said violation of mandatory statutory
    14     duties and criminal behavior under Government Code § 820.21. Defendants' acts
    15     and omissions were willful, malicious, intentional, oppressive, reckless, and/or
    16     done in willful and conscious disregard of minor Plaintiff's rights, welfare, and
    17     safety, thereby justifying the awarding of exemplary damages in an amount to be
    18     determined at time of trial only in an amount commensurate with the nature of the
    19     Defendants' wrongful conduct and the amount of Defendants' wealth.
    20   220.   Defendants' criminal conduct to secure federal foster care funds under Title IV
    21     E of the Social Security Act was so extreme that it went beyond all possible
    22     bounds of decency A reasonable person would regard as intolerable in a civilized
    23     community, Defendants' use of falsified SDM Assessments in violation of MMP
    24     31-001,31-135, Penal Code § 115, lies, perjury, and false evidence in violation of
    25     Penal Code § §118, and 8 U.S.C. §1621, to secure custody of B.A. for federal
    26     foster care funds under Title IV E of the Social Security Act.
    27
    28

                                                 - 49-
                                                         First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 50 of 54 Page ID #:263



     1   221. Defendants abused their positions of authority as Defendant County and
     2      Defendant social workers with real power to affect and did affect minor Plaintiff s
     3      rights and interests.
     4   222. Defendants knew that B.A. was extremely traumatized and particularly
     5      vulnerable to emotional distress when taken from Plaintiff s care and custody for
     6      two years. Defendants knew their conduct would likely result in and did result in
     7      permanent injury to B.A. due to severe mental distress.
     8   223. As a direct and proximate result of Defendants' egregious, malicious, criminal
     9      conduct, minor Plaintiff B.A. suffered severe physical injury and severe emotional
    10      injury and will continue to suffer physical, mental, and emotional injury, all to an
    11      extent and in an amount subject to proof at trial. Defendant County and its entity
    12      DCFS are vicariously responsible under Government Code Section 815.21 and
    13      other applicable statutory and case law.
    14                               NITNH CLAIM FOR RELIEF
    15                          VIOLATION OF MANDATORY DUTY
    16      (ALL PLAINTIFFS against COUNTY OF LOS ANGELES, DCFS, RUBEN
    17      JIMENEZ, MELISSA RAMIREZ, LYDIA BUENO, ALEXANDRA
    18      RONCES, GLADYS ESCOBEDO, EVITA SALAS, ANTONIA LOPEZ,
    19      RACHEL SIMONS, GLORIA MEJIA, STEPHANIE MORALES, LAURA
    20      LUNA, SANDRA JIMENEZ, and DOES 1-10)
    21   224. Plaintiffs repeat, re-allege and incorporate all paragraphs, as though fully set
    22      forth herein.
    23   225. The Fourteenth Amendment to the United States Constitution, as well as the
    24      California codes and regulations throughout this Complaint are enactments.
    25      Enactments form the basis of a mandatory duty under California Government Code
    26      §8l5.6.
    27   226. Any California constitutional provision is mandatory and prohibitory, per
    28      Article 1, §26, of the California Constitution.

                                                  - 50-
                                                          First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 51 of 54 Page ID #:264



     1   227. These constitutional provisions and statutes apply to all members of the general
     2        public, including plaintiffs, and were all designed to prevent the kind of injuries
     3        alleged herein.
     4   228. Defendants did not exercise reasonable diligence in discharging their duty to
     5        refrain from violating the constitutional rights of plaintiffs.
     6   229. As a direct and proximate cause of the aforementioned acts of defendants,
     7        plaintiffs were damaged in amounts to be determined at trial.
     8                                  TENTH CLAIM FOR RELIEF
     9                                             BANE ACT
    10             (By PLAINTIFF B.A. against ALL DEFENDANTS and DOES 1-10)
    11   230. Plaintiffs repeat, re-allege and incorporate all paragraphs, as though fully set
    12        forth herein.
    13   231. This claim is brought pursuant to California state law.
    14   232. All defendants, and each of them, by doing and/or causing the acts complained
    15        of in this entire Complaint, violated Plaintiff’s civil rights per California Civil Code
    16        Sections 52.1 and 52(b) by doing the acts described herein above. Each act and/or
    17        violation of rights done by each Defendant to Plaintiff B.A. was done by way of
    18        threats, intimidation and/or coercion beyond that inherent in each act and/or
    19
              violation of rights itself because, inter alia, each act was additionally a violation of
    20
              personal rights under Cal. Civ. Code §43. There were also multiple coercive acts.
    21
         233. Entity and/or agency defendants are liable to plaintiff for the acts of their public
    22
              employees, the individual defendants herein, for conduct and/or omissions herein
    23
              alleged, pursuant to the doctrine of Respondeat Superior, codified at California
    24
              Government Code § 815.2.
    25
         //
    26
    27
         //

    28   //


                                                      - 51-
                                                              First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 52 of 54 Page ID #:265



     1   234. Defendants, and each of them, for the respective acts and violations pleaded
     2        herein above, are liable to each Plaintiff for damages, and penalties and attorneys’
     3        fees as provided in California Civil Code §52(b), including but not limited to an
     4        amount no less than $25,000 to Plaintiff, per each Defendant, per each violation of
     5        right, in addition to all other remedies supported by or provided for by law.
     6
         235. Defendants, and each of them, for the respective acts and violations pleaded
     7
              herein above, are liable to Plaintiff for attorneys’ fees as provided in California
     8
              Civil Code § 52(b)(3).
     9
         236. Defendants, and each of them, for the respective acts and violations pleaded
    10
              herein above, are liable to Plaintiff for damages, penalties and attorneys’ fees as
    11
              provided in California Civil Code § 52.1(b).
    12
         237. All allegations made throughout this entire complaint, from paragraph 34
    13
              through 237, inclusive, are made upon information and belief of plaintiffs, and
    14
              each of them.
    15
    16
                                                  PRAYER
    17
         1.      WHEREFORE, Plaintiffs, and each of them, pray for the following relief
    18
                 from Defendants, and each of them, for each of the above causes of action:
    19
                 (i)     For compensatory damages, including general and special damages, as
    20
                         well as incidental damages, according to proof;
    21
                 (ii)    For punitive damages pursuant to 42 U.S.C. §§1983, 1988 and any other
    22
                         applicable laws or statutes, in an amount sufficient to deter and make an
    23
                         example of each non-governmental entity Defendant;
    24
                 (iii)   For statutory damages and/or civil penalties, according to proof,
    25
                 (iv)    For prejudgment interest according to proof;
    26
                 (v)     For reasonable attorney fees pursuant to 42 U.S.C. §§ 1983, 1988; and
    27
                         any other applicable federal law provisions;
    28

                                                     - 52-
                                                             First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 53 of 54 Page ID #:266



     1        (vi)   For reasonable attorneys’ fees pursuant to California Civil Code §§ 52.1,
     2               52(b)(3), CCP §1021.5and any other applicable state law provisions;
     3        (vii) For costs of suit; and
     4        (viii) For such further relief which is just and proper.
     5
     6   Dated: MAY 8, 2019.                   Respectfully submitted,
                                               ORANGE LAW OFFICES, P.C.
     7
     8                                              /s/ - Olu K. Orange
                                               By: ____________________________
     9                                                    Olu K. Orange, Esq.
    10                                                   Attorneys for Plaintiffs

    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28

                                                 - 53-
                                                         First Amended Complaint Per FRCP Rule 15(a)(1)(B)
Case 2:19-cv-01770-RGK-RAO Document 36 Filed 05/08/19 Page 54 of 54 Page ID #:267



     1                                    JURY DEMAND
     2
     3        Plaintiffs hereby demand a trial by jury in this action.
     4
     5
         Dated: MAY 8, 2019.                   Respectfully submitted,
     6                                         ORANGE LAW OFFICES, P.C.
     7
                                                    /s/ - Olu K. Orange
     8
     9                                         By: ____________________________
                                                        Olu K. Orange, Esq.
    10                                                 Attorney for Plaintiffs
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28

                                                 - 54-
                                                         First Amended Complaint Per FRCP Rule 15(a)(1)(B)
